     Case 3:12-cv-01082-WWE Document 281 Filed 01/26/16 Page 1 of 80




                              UNITED STATES DISTRICT COURT
                                DISTRICT OF CONNECTICUT


scoTT TOMKINS, JOSEPH G. HUSK,
                      LEUNG, on behalf of
^nùELIZ.ABETH
themselves and others similarly situated,
                                                Civil Action No.: 3:12-CV-01082 (ViWE)
                 Plaintifß,

            v.

AMEDISYS,INC.,
                                             July 29,2015
                 Defendant.




                      STIPULATION AND SETTLEMENT AGREEMENT




2025252.2
2026427.1
       Case 3:12-cv-01082-WWE Document 281 Filed 01/26/16 Page 2 of 80




            Named Plaintiffs Scott Tomkins, Joseph G. Husk, and Elizabeth Leun                        with

 proposed named plaintiffs Joann Carter and Kevin Sautel, individually and on behalf of all Opt-

 in Plaintiffs and all members of the Settlement Classes defined herein, and their counsel of

 record, and defendant Amedisys, Inc., and its counsel          of record, and subject to the terms   and

 conditions hereof and final approval by the Court, hereby enter into this stipulation of settlement

("Agreement"). This settlement is intended to fully, finally, and forever compromise, release,

resolve, discharge, and settle the released claims subject to the terms and conditions set forth in

this Agreement. The instant action shall be dismissed with prejudice upon final approval of this

settlement by the Court.

I.          RECITALS AND BACKGROUND

            A.       The Nature of the Instant Action and Claims Raised

            Defendant Amedisys, Inc. works with hospitals and physicians across the country to provide

post-acute care to individuals who are recovering and rehabilitating from an operation or injury, or who

are managing        a chronic disease. The company's Home Health Division employs thousands of

clinicians    in   several specialties, including as Registered Nurses, Physical Therapists, Occupational

Therapists, and Speech Language Pathologists, to provide this care to patients in their homes.

            Plaintiffs Scott Tomkins, Joseph G. Husk, Elizabeth Leung, Joann Carter, and Kevin

Sautel worked as clinicians in Defendant's Home Health          Division. They assert claims under the

federal Fair Labor Standards Act ("FLSA"),29 u.S.C. $ 201, et seq., and the laws of the

Commonwealths of Pennsylvania and Kentucky. See Penn. Min. Wage Act                  ("pMWA"),43 pa.

Stat. Ann. $ 333.100, et seq.;      Ky. wage & Hour Act ("KWHA"), Ky. Rev. stat. Ann. g 337.020,

et seq. Those claims include allegations that Defendant treated them, and other        similarly situated

clinicians, as exempt from federal and state overtime requirements, but paid such individuals using a


                                                      2

2026427.1
    Case 3:12-cv-01082-WWE Document 281 Filed 01/26/16 Page 3 of 80




"per-visit" compensation model that did not comply with applicable fee-basis and salary-basis

regulations for exempt employees. Plaintifß further argue that when Amedisys treated them and other

per-visit clinicians as "non-exempt" and overtime eligible, it required them to work off-the-clock

and/or did not use the appropriate methodology for computing their overtime pay, thus, denying them

full pay for all hours worked, including overtime. On these grounds, Plaintifß seek to recover on their

own behal{ as well as on behalf of a class of allegedly similarly situated individuals who filed consents

to participate in this action as party plaintifß, and putative classes of clinicians in Pennsylvania and

Kentucþ, unpaid \ /ages, liquidated damages, pre- and post-judgment interest, and attomeys' fees and

costs.

            B.    Procedurat History of the Instant Action

            l.    On July 25,2012, Julie Cook, Scott Tomkins, and Joseph Husk filed a complaint

in the U.S. District Court for the District of Connecticut, raising putative collective-action claims

under the FLSA and putative class-action claims Pennsylvania state        law. (Dkt. No.   1.)


            2.    On   September   24, 2012, Plaintiffs filed a motion requesting             conditional

certification    of their FLSA claims as a collective action and         authorization   to   send court-

supervised notice to potential participants in that collective action. (Dkt. No.         29.) That same

day, Defendant filed a motion to transfer venue to the U.S. District Court for the Middle District

of Louisiana (Dkt. No. 30), and a motion to dismiss Plaintiffs' complaint for failure to state a

claim, or, in the alternative, for a more defìnite statement (Dkt. No. 32). Plaintiffs' motion for

conditional certification was stayed pending resolution of the Defendant's motions. (Dkt. No.

49.) On April 8,2013, the Court denied Defendant's motions for transfer of venue and for

dismissal. (Dkt. No. 56.) However, the Court further ordered that, prior to responding to

Plaintiffs' motion for conditional certification, Defendant was permitted to conduct limited


                                                    J

2026427.t
       Case 3:12-cv-01082-WWE Document 281 Filed 01/26/16 Page 4 of 80




 discovery concerning that issue, including depositions of the three Named Plaintifß at that time

 (Cook, Tomkins, and Husk), and an exchange of documents and time and payroll data in advance

 of those depositions. (Dkt. Nos. 59, 7l-72,86, 90.)

            3.    The parties exchange the court-authorized written discovery, documents, and data,

 and conducted depositions of Plaintiffs Tomkins and Husk in June 2013. Plaintiff Cook,

 however, chose to withdraw from the action following the noticing of her deposition. (Dkt. No.

 94.) As a result, Plaintiffs    moved the Court for leave to amend their complaint to add a new

Named Plaintiff, Elizabeth Leung, which the Court granted. (Dkt. Nos. 97, 93, 95.)

Additionally, based on the change in Named Plaintiffs, the Court denied Plaintiffs' motion for

conditional certification without prejudice to re-file such a motion (Dkt. No. 96), which Plaintiffs

did on July 10,2013 (Dkt. No. 97). Following the filing of Plaintifß'amended complaint, the

parties also supplemented their prior discovery responses       to produce information,    documents,

and materials related to Ms. Leung, and she subsequently sat for deposition in      july 2013.

            4.    On August 22, 2013, Plaintifß fìled an emergency motion for protective order

related     to Defendant's implementation of a     company-wide mandatory arbitration program.

Plaintiffs requested that the Court issue corrective notice to putative collective-action and class-

action class members who were employed by Defendant at the time of that implementation,

informing them that, notwithstanding any failure to timely opt-out of Defendant's arbitration

program, they could still participate in the instant action. (Dkt. No. 106.)

            5.   Following extensive briefing (Dkt. Nos.    97,l0r, 104,706,110, rrr, rl4, ll7,
136, 147, 138, 139,     l4l,    147) and multiple hearings on Plaintifß' motions for conditional

ceftification and for protective order, on January 13,2014, those motions were granted. (Dkt.

Nos. 149     & 150.) After   subsequent briefing regarding the form of notice, on   April 77,2014, all

                                                   4

2026427.1
    Case 3:12-cv-01082-WWE Document 281 Filed 01/26/16 Page 5 of 80




individuals who had worked in Defendant's Home Health Division as a full-time, "per-visit"

Registered Nurse, Physical Therapists, Occupational Therapist, or Speech Language Pathologist,

any time during the prior three years, accounting for Court-ordered equitable tolling, were issued

notice by a neutral third-party notice administrator. 1,571individuals submitted written consents

to participate in this action as party plaintiffs.

            6.     On September 10, 2014, Plaintiffs filed a motion for leave to file a         second

amended complaint        to add putative class-action claims under Kentucky state law,        based on

similar allegations as their FLSA and Pennsylvania state-law claims. (Dkt. No. 214.) As part of

that motion, Plaintiffs also requested that Joann Carter and Kevin Sautel, who had previously

frled written consents to participate in Plaintiffs' FLSA claims, be added as Named Plaintiffs and

potential class representatives for their proposed Kentucky state-law claim. On December 12,

2014, the Court granted Plaintiffs' leave to         file a second amended complaint. (Dkt. No. 243.)

Plaintiffs have not yet fìled a second amended complaint.

            7.     Following the close of the period for individuals to opt in to Plaintiffs' putative

FLSA collective-action, on July 31, 2074,the parties met and conferred regarding the scope of

liability discovery, including "opt-in" discovery. The parties submitted their               respective

proposals to the Court on August 74,2014, and requested oral argument on the same. (Dkt. No.

203.) Over the next several months, the parties filed multiple submissions in support of their

respective positions concerning the scope and timing          of liability discovery, and the Court held

two hearings on the subject. (Dkt. Nos. 208,218,231,232,236,237,241,242.) Consistent with

the Court's instructions and oral rulings during those hearings, the parties submittecl                a


supplemental Rule 26(f) Report on December             22,2014. (Dkt. No. 244.) Based on that report,

on January       2l,2015,the Court   entered an order approving a    liability discovery plan. (Dkt. No.


                                                        5


2026427 I
      Case 3:12-cv-01082-WWE Document 281 Filed 01/26/16 Page 6 of 80




 245.) Pursuant to that order, the parties were permitted to            in class-wide d            which

 included propounding written discovery on all Opt-in Plaintifß and on Defendant with respect to

the care-center locations where those Opt-in Plaintifß had worked, as well as depositions           of 10
percent      of the Opt-in Plaintiffs and a commensurate number of              care-center management

depositions.

            8.       On February 23, 2015, prior to the start of the liability discovery period, the

parties filed    a   joint motion to stay proceedings for sixmonths (until August24,2015) to pursue

the potential for a mediated settlement. (Dkt. No. 249.) The Court granted the motion to stay on

February 24,2015. (Dkt. No. 250.)

            9.       During the stay of the Litigation, the parties exchanged time and payroll data for

all Opt-in Plaintiffs, as well as employment              data   for putative   members    of Plaintifß'
Pennsylvania and Kentucky state law classes. Then, following an exchange                  of confidential
position statements, on June 10,2015, the parties engaged in an all-day mediation in Atlanta,

Georgia with neutral third-party mediator, Mr. Hunter Hughes. As a result of that mediation, the

parties reached a mutually agreeable settlement of the Litigation, as explained herein.

            C.       Parties' Statements and Recognition of the Benefits of Settlement

                     1.     Plaintiffs'statement

            Plaintiffs believe the claims asserted in the Litigation have merit under the FLSA and

Pennsylvania and Kentucky          law. However, Plaintiffs recognize the cost and delay of continued

proceedings necessary        to   prosecute the instant action against Defendant through discovery,

dispositive motions, trial, and appeal. Plaintiffs have also taken into account the uncertain

outcome and the risk of loss in any litigation, especially in a complex collective/class-action such

as   this. Plaintifß believe that the settlement set forth in this Agreement confers          substantial


                                                     6

2026427 I
      Case 3:12-cv-01082-WWE Document 281 Filed 01/26/16 Page 7 of 80




benefits on Settlement Class Members. Based on their evaluation, Plaintifß have determined

that the settlement is in the best interest of Named Plaintiffs, the Opt-in Plaintiffs, and the other

members of the Settlement Classes.

                    2.    Defendant's statement

              Defendant denies each and   all of the claims alleged by Plaintiffs in the Litigation,

including the claims in their proposed second amended complaint. Defendant expressly denies

any and all charges of wrongdoing or liability alleged in the instant action. To the contrary,

Defendant contends that,       in compliance with applicable state and federal laws, its per-visit

clinicians have been paid all wages due. Because Defendant has complied with its obligations

under the FLSA and state law, Defendant believes Plaintiffs' claims for unpaid wages, liquidated

damages, pre- and post-judgment interest, attorneys' fees, and costs       will fail.   Defendant also

denies that the asserted claims are appropriate for collective treatment under 29 U.S.C. $ 216(b)

or class treatment under Fed. R. Civ. P. 23, except for purposes of settlement. Nevertheless,

Defendant has taken into account the uncertainty and risks inherent in any litigation and the fact

that the conduct of the Litigation would be protracted and expensive. Defendant, therefore, has

determined it is desirable and beneficial that the Litigation be settled in the manner and upon the

terms and conditions set forth in this Agreement.

il.           TERMS OF STIPULATION AND AGREEMENT OF SETTLEMENT

              IT IS HEREBY STIPULATED AND AGREED by and among the Plaintifß                           (for

themselves and the Settlement Classes defined below) and Defendant,            by and through their

respective attorneys, that, subject to the approval of the Court, the instant action     will   be frnally

and f'ully compromised, released, resolved, discharged, and settled, and will be dismissed with

prejudice, subject to the terms and conditions of this Agreement, as follows:


                                                     7

2026427   I
      Case 3:12-cv-01082-WWE Document 281 Filed 01/26/16 Page 8 of 80




              A.      Definitions

              As used throughout this Agreement, the following terms have the meanings specifìed

 below:

                      1.       "Authorized Claimant" means any Settlement Class Member who                  is

 entitled to a Settlement Payment, as defìned herein,         if   he or she timely submits the required tax

 forms and/or submits a required claim form, as described herein in Parts ILH, II.J.3 and II.K,

 infra.

                      2-       "Defendant" means Amedisys, Inc., including its past, present, or future

officers, directors, shareholders, employees, agents, principals, heirs, assigns, representatives,

accountants, auditors, consultants, attorneys, fiduciaries, both individually and in their official

capacities, employee benefits plans, insurers and reinsurers, and their respective successors and

predecessors         in   interests, subsidiaries, affrliates, parents, divisions, partners, and affiliated

organizations.

                     3.       "Effective Date" means the date by which both of the following have

occurred: (i) this settlement has received final approval from the U.S. District Court for the

District of Connecticut, or any other court taking jurisdiction over this Litigation, as defined

herein; and        (ii) the period for appealing the Court's final order approving the settlement expires

without an appeal being filed or, if such an appeal is filed, the date on which the appeal is finally

resolved, including any decision by the United States Supreme Court. To the extent any appeal

results in the settlement being found to be invalid, this Agreement            will   be null and void for all

purposes in its entirety.

                     4-       "Final Settlement Hearing" means the hearing to be conducted by the
U.S' District Court for the District of Connecticut, or any other court taking jurisdiction over the


                                                        8

2026427   I
    Case 3:12-cv-01082-WWE Document 281 Filed 01/26/16 Page 9 of 80




Litigation, as defined herein, to determine whether to finally approve the settlement explained

herein.

                  5.       "Gross Settlement Amount" refers to $8,000,000, less the $10,000.00

which Defendant has paid to mediator Hunter R. Hughes for his services in connection with the

parties June 10, 2015, mediation, which is the total and maximum amount Defendant will be

required      to pay under this settlement to completely resolve and            settle the claims against

Defendant in the Litigation, except that in addition to the Gross Settlement Amount, Defendant

will pay its share of employer payroll taxes associated with payments to Authorized              Claimants

pursuant to this Agreement that are attributable to back wages. The Gross Settlement Amount

expressly includes, but is not necessarily limited to, the following elements: (i) cash Settlement

Payments       to Authorized Claimants, as described in this Agreement; (ii) Service Awards, as

described herein;       (iii) Plaintiffs' Attorney's   Fees, payable as described herein;   (iv) Plaintiffs'

Litigation Expenses,      as described herein; and     (v) Settlement Expenses, as defined herein.

                  6.        "Litigation"   refers to the   civil action filed on July 25, 2012,in the U.S.

District Court for the District of Connecticut, which was previously styled Cook, et al.                  v.


Amedisys, Íec., No. 3:12-CV-010S2 (V/WE), and                  is currently styled as Tomkins, et al.     v.


Amedisys, Inc., No. 3: l2-CV-01 082 (WWE).

                   7.       "Motion for Preliminary Approval"          refers to the motion for preliminary

approval of this settlement and its supporting papers.

                   8.       ,'Named Plaintiffs" mean Scott Tomkins, Joseph G. Husk, and Elizabeth

Lcung.

                   9.       "Notice of Settlement" refers to the official notice of settlement of      class


action and final fairness hearing, substantially in the forms attached hereto as Exhibit        l.

                                                         9


2026427   I
     Case 3:12-cv-01082-WWE Document 281 Filed 01/26/16 Page 10 of 80




                   10.    "Opt-in Plaintiff'    means any individual who,                 to 29 U.S.C.
 S 21   6(b), filed a written consent with the U.S. District Court for the District of Connecticut in the

 Litigation, asking to participate in Plaintifß' claims under the FLSA as a party plaintiff.

                  ll.     "Order Granting Preliminary Approval" refers to the order                   or

 statement of decision in the Litigation granting preliminary approval to this settlement.

                  12.     6'Per-visit Clinicians" means a current
                                                                  or former employee of Defendant,

who worked as a full{ime Registered Nurse, Physical Therapist, Occupational Therapist, or

Speech Language Therapist, or similar position, in Defendant's home health division, and who

was paid on a "per-visit" basis.

                  13.     "Plaintiffs"   means Scott Tomkins, Joseph G. Husk, and Elizabeth Leung,

along with proposed named plaintiffs Joann Carter and Kevin Sautel, individually and on behalf

of all Opt-in Plaintifß defìned herein, and all members of the Settlement Classes defined herein,

their counsel of record, and their past, present, or future agents, heirs, assigns, representatives,

and their respective successors and predecessors in interests.

                  14.     '6Plaintiffs' Attorney's Fees" refers to the fee amount to be paid to

Plaintiffs' Attorneys under the terms of this Agreement, as authorized by the U.S. District Court

for the District of Connecticut, or any other court taking jurisdiction over the Litigation, which

shall not exceed one third of the Gross Settlement Amount.

                  15.     66Plaintiffs' Attorneys" means the attorneys
                                                                       representing Plaintifß in the

Litigation: (i) The Law Offices of Gilda A. Hernandez,PLLC,3l5 S. Salem Street, Suite               310,

Apex, North Carolina 27502; (ii) Cohen Milstein Sellers            & Toll, PLLC, ll00       New York
Avenue, Suite 500 West, Washington, District of Columbia20005; and (iii) The Hayber Law

Firm, LLC, 221Main Street, Hartford, Connecticut 06106.


                                                    10

2026427   I
   Case 3:12-cv-01082-WWE Document 281 Filed 01/26/16 Page 11 of 80




                 16. "Plaintiffs' Litigation         Expenses" means the litigation costs              and


expenses, incurred    by Plaintiffs in connection with the Litigation, and taxable pursuant to          29


U.S.C. $ 1920, not to exceed S112,000, which shall be paid to Plaintiffs'Attorneys under the

terms of this Agreement, as authorizedby the U.S. District Court for the District of Connecticut,

or any other court taking jurisdiction over the Litigation.

                  17.    "Revised Gross Settlement Amount" refers to the portion of the Gross

Settlement Amount available       for distribution as cash     Settlement Payments     to    Authorized

Claimants, as described in Parts ILG and Il.P.2,     infra. The Revised Gross Settlement Amount          is

equal to Gross Settlement Amount less:        (i) Service Awards,   as described herein;   (ii) Plaintiffs'

Attorney's Fees, as described herein; (iii) Plaintifß' Litigation Expenses, as described herein;

and (iv) Settlement Expenses, as defined herein.

                  18.    "service Award" means a sum, as explained in Parts II.D and II.P.4,

infra,    and as authorized by the U.S.   District Court for the District of Connecticut, or any other

court taking jurisdiction over the Litigation, to be paid to the Named Plaintiffs and to Joann

Carter and Kevin Sautel, who are Opt-in Plaintiffs and served as proposed class representatives,

but who were never formally added as Named Plaintiffs to the operative complaint before

execution of this Agreement, in recognition of their service to the Settlement Classes in the

Litigation.

                  19.    "settlement Administrator" means the firm of Epiq Class Action &

Mass Tort Solutions, Inc., or any other fìrms or successors designated by the parties and

approved by the Court with jurisdiction over the Litigation, to effectuate the settlement by

issuing notice of the settlement, collecting required ta>r/claim fbrms, distributing Settlement

Payments, distributing copies    of the order granting final approval of this settlement, and          any


                                                    ll
2026427   I
     Case 3:12-cv-01082-WWE Document 281 Filed 01/26/16 Page 12 of 80




 other tasks specifìed in this Agreement or by order of the Court with jurisdiction over the

 Litigation.

               20.    "Settlement Class Members" means those persons who are members of

the Settlement Classes, defined below, and who do not properly and timely opt out of the

Litigation in accordance with the opt-out procedures described herein in Part II.J.3, infra,

associated with the Notice of Settlement.

               21.     "Settlement Classes', are defined as follows:

                      (i.)     Opt-in Plaintiffs, as defined herein, who have not withdrawn their

                               consent to participate in    plaintiffs' FLSA claims   as party   plaintifß,

                               as of the time the   Motion for Preliminary Approval is filed with the

                               Court; or

                      (ii.)    Per-visit Clinicians, as defined herein, employed by Defendant in

                               the Commonwealth of Pennsylvania between July 25,2009 and the

                               date   of the entry of the Court's Order Granting            Preliminary

                               Approval to this settlement, but excluding any such individual who

                               was hired by Defendant for the first time after September 2013

                               and, as     a   condition   of   employment, agreed    to be subject to
                               Amedisys's Dispute Resolution Agreement at the time                 of   hire

                               (which requires individuals to submit most employment-related

                               disputes to mandatory arbitration); or

                      (iii.)   Per-visit Clinicians, as defined herein, employed by Defendant in

                               the Commonwealth of Kentucky between February 28, 2010 and

                               the date of the entry of the Court's Order Granting Preliminary


                                                    l2
2026427 I
   Case 3:12-cv-01082-WWE Document 281 Filed 01/26/16 Page 13 of 80




                              Approval to this settlement, but excluding any such individualwho

                              was employed by Defendant        in   2013, at the time Defendant

                              initially rolled out its Dispute Resolution Agreement         (which

                              requires individuals to submit most employment-related disputes to

                              mandatory arbitration), and who did not timely opt out of that

                              arbitration program or who did not timely submit a written consent

                              form requesting to participate as a parfy plaintiff in Plaintiffs'

                              claims under the federal FLSA, and excluding any such individual

                              who was hired by Defendant for the first time after September

                              2013 and, as a condition of employment, agreed to be subject to

                              the Dispute Resolution Agreement at the time of hire.

               22.     "settlement Expenses" means all expenses associated with administering

the settlement, including, but not limited to, the costs of the Settlement Administrator, the costs

of mailing the Notice of Settlement, and the costs of disbursing the settlement proceeds, which

shall be determined by the Settlement Administrator prior to the mailing of the Notice of

Settlement.

               23.     "settlement Payments" means the amounts to be paid to individual

Authorized Claimants from the Revised Gross Settlement Amount.




               [REMAINDER OF PAGE INTENTIONALLY LEFT BLANKJ




                                                 l3

2026427   1
     Case 3:12-cv-01082-WWE Document 281 Filed 01/26/16 Page 14 of 80




              Plaintiffs (for thernselves and the Settlement Classes defined above and Defendant,

 and through their respective attorneys, HEREBY FURTHER STIPULATE AND AGREE                                   as

 follows:

              B.      Scope of Settlement

              The settlement described herein   will resolve fully   and fìnally all of the released claims as

described herein, in Part        ll.l, infra.
              C.      Authority to Execute Settlement

              The signatories to this Agreement hereby represent that they are fully authorized to enter

into this Agreement and bind the parties to the terms and conditions hereof, as detailed below.

              Plaintifß' Attorneys acknowledge that they have retainer agreements with the Named

Plaintiffs and with Joann Carter and Kevin Sautel, and that each Opt-in Plaintiff has signed and

filed with the Court a written consent to participate in the Litigation as a party plaintiff. Pursuant

to these retainer agreements and consent forms, Plaintiffs' Attorneys represent that they have

authority to negotiate and execute a settlement agreement on behalf of Plaintiffs. Upon approval

by the Court, such settlement agreement shall bind the members of the Settlement Classes to all

terms set forth in this Agreement, regardless of whether any particular member of the Settlement

Classes timely submits the required tax forms, submits a required claim form, or receives a

Settlement Payment, described herein in Parls II.H, II.J.3, ILK, and II.P.2, infra, so long as such

individual has not timely opted out of this settlement pursuant to the opt-out procedures

described herein in Part II.J.3 infra.

              It is agreed   that because the members of the Settlement Classes are so numerous,         it   is

impossible or impracticalto have each member of the Settlement Classes execute the Agreement.

The Notice of Settlement, in the forms attached hereto as Exhibit            l, which shall be submitted      to


                                                       14

2026427   I
   Case 3:12-cv-01082-WWE Document 281 Filed 01/26/16 Page 15 of 80




the court with jurisdiction over the Litigation for approval, will advise all members of the

Settlement Classes of the binding nature of the release               of claims described in this Agreement

(see   Partll.I, infra),    and that the release   will   have the same force and effect upon members of the

Settlement Classes as           if   the Agreement were executed by each member of the Settlement

Classes.

            D.          Court Approval of Settlement

            The parties agree that Plaintiffs      will   move the Court with jurisdiction over the Litigation

for approval of the settlement described herein. Defendant will not oppose Plaintiffs'motions

seeking approval of this settlement.

            As part of the approval process, Plaintifß will request Service Awards for the Named

Plaintiffs and for Joann Carter and Kevin Sautel, as set forth herein. Defendant agrees not to

oppose such a request, so long as Plaintiffs do not request Service Awards of more than $10,500

each for Named Plaintifß and              of more than $6,250 each for Joann Carter and Kevin          Sautel.

Further, Plaintiffs'Attorneys will petition the Court for an award of Plaintiffs'Attorney's Fees

and Plaintiffs' Litigation Expenses, as set forth herein. Defendant agrees not to oppose such a

petition, so long as the amount of Plaintiffs' Attorney's Fees sought does not exceed one-third of

the Gross Settlement Amount, as defined herein, and the Plaintiffs' Litigation Expenses sought

are taxable pursuant to 29 U.S.C. $ 1920 and do not exceed a total amount               of $l12,000.

            Any award of Plaintiffs' Attorney's Fees, Plaintiffs' Litigation Expenses, and/or Service

Awards approved by the Court              will   be paid solely from the Gross Settlement     Amount. In   no

event    will    Defendant be required to pay more than the Gross Settlement Amount. except that

Defendant        will   also pay its share of employer payroll taxes associated wlth payments attributable

to back \¡/ages to Authorized Claimants pursuant to this Agreement.


                                                             15


2026427.1
     Case 3:12-cv-01082-WWE Document 281 Filed 01/26/16 Page 16 of 80




              The parties' agreement to settle Plaintiffs' claims in the L           as set fofth in this

 Agreement, is contingent upon the U.S. District Court for the District of Connecticut, or any

 other court taking jurisdiction of the Litigation, granting final approval of the settlement and, in

the event such court grants final approval ofthe settlement and an appeal ofthe final approval

 order is filed, contingent upon the final approval order being afTirmed on appeal in a form

substantially identical to the form of the final approval order entered by the court with respect to

all material terms. Should the U.S. District Court for the District of Connecticut, or any other

court taking jurisdiction of this matter, decline to approve all material aspects of this Agreement,

or make rulings substantially altering the material terms of this Agreement, except for the awards

of Plaintiffs'Attorney's Fees, Litigation Expenses, and Service Awards (each of which will be

decided by the Court), Defendant         will   have no obligation to make any payment pursuant to this

Agreement, including payment of any portion of the Gross settlement Amount.

              E.     Certification of the State Law Settlement Classes Solely for Settlement
                     Purposes

              As part of the process of seeking approval of this Agreement, Plaintiff shall fìle their

Second Amended Complaint, which the Court previously granted them leave                  to fìle in   the

Litigation, before filing a Motion for Preliminary Approval. Defendant shall ans\ryer Plaintiffs'

Second Amended Complaint            within fifteen (15) days following the filing of Plaintiffs' Second

Amended Complaint.

              Additionally, solely for purposes of settlement, the pafties' agree that Plaintiffs shall

request, as part       of the motion for preliminary approval, that the U.S. District Court for       the

District of Connecticut, or any other court taking jurisdiction of this matter, certif, the following

state law Settlement Classes, defined supra, pursuant to Federal Rule of       Civil Procedure 23:



                                                       l6
2026427   1
   Case 3:12-cv-01082-WWE Document 281 Filed 01/26/16 Page 17 of 80




              (i)     Per-visit Clinicians, as defined herein, employed         by   Defendant      in   the

                      Commonwealth of Pennsylvania between July 25,2009 and the date of the entry

                      of the Court's Order Granting Prelirninary Approval to this settlement, but
                      excluding any such individual who was hired by Defendant for the first time after

                      September 2013 and, as     a condition of employment, agreed to be subject to

                      Amedisys's Dispute Resolution Agreement at the time of hire (which requires

                      individuals   to   submit most employment-related disputes         to      mandatory

                      arbitration); or

              (ii.)   Per-visit Clinicians, as defined herein, employed         by   Defendant      in    the

                      Commonwealth of Kentucky between February 28,2010 and the date of the entry

                      of the Court's Order Granting Preliminary Approval to this settlement, but
                      excluding any such individual who was employed by Defendant \n 2013, at the

                      time Defendant initially rolled out its Dispute Resolution Agreement (which

                      requires individual   to submit most employment-related    disputes   to   mandatory

                      arbitration), and who did not timely opt out of that arbitration program or who did

                      not timely submit a written consent form requesting to participate as a party

                      plaintiff in Plaintiffs' claims under the federal FLSA, and excluding any          such

                      individual who was hired by Defendant for the first time after September 2013

                      and, as a condition of employment, agreed to be subject to the Dispute Resolution

                      Agreement at the time of hire.

              The Agreement is contingent upon the approval of, and fìnal cenifrcation by, the Cot¡rt      of

these Settlement Classes for settlement purposes        only. In agreeing to Plaintiffs moving the Court

for certification of these Settlement Classes, Defendant does not waive, and instead expressly


                                                       17

2026427   t
      Case 3:12-cv-01082-WWE Document 281 Filed 01/26/16 Page 18 of 80




 reserves its rights to challenge the propriety of the ceftification of such classes for an               AS


 if this Agreement      had not been entered into by the parties should the Court, for any reason, not

 approve the settlement contained herein.

            F.     Defendant's Payment of Maximum Gross Settlement Amount

            In order to settle the Litigation, and as consideration for Plaintiffs'   release   of   claims,

dismissal of the Litigation, and the other good and valuable consideration described herein that

Plaintiffs are providing       to   Defendant, Defendant agrees    to pay $8,000,000.00,          less the

$10,000.00 which Defendant has paid            to mediator Hunter R. Hughes for his services in
connection with the parties June 10, 2015, mediation, which shall be used to provide          for: (i) cash
Settlement Payments         to Authorized Claimants, as described in this Agreement; (ii)            Service

Awards, as described herein; (iii) Plaintiffs' Attorney's Fees, payable as described herein; (iv)

Plaintiffs' Litigation Expenses, as described herein; and (v) Settlement Expenses, as defined

herein.

            Pursuant   to this Agreement, Defendant will not be required to pay any amount over

$8,000,000.00, less the $10,000.00 which Defendant has already paid            to mediator Hunter        R.

Hughes for his services        in connection with the parties June 10, 2015, mediation, to            settle

Plaintiffs' claims in the Litigation. This amount, which is the negotiated and mutually agreeable

Gross Settlement Amount defined supra, represents the maximum gross amount Defendant

would pay pursuant to this Agreement in the event every member of the agreed Settlement Class

timely participated in the settlement and received Settlement Payments. The Gross Settlement

Amount is inclusive of Settlement Payments payable to Authorized Claimants, as well as any

award of Plaintiffs' Attorney's Fees, Plaintifß' Litigation Expenses, Settlement Expenses, and

Service Awards. However, the maximum Gross Settlement Amount                    will not include        the


                                                    l8
2026427 I
   Case 3:12-cv-01082-WWE Document 281 Filed 01/26/16 Page 19 of 80




employer's share of taxes due on portions of any Settlement Payment attributable to wages.

            G.       Individual Settlement Awards and Minimum Settlement Awards

            All   Settlement Payments shall be paid from the Revised Gross Settlement Amount. Prior

to f,rling the Motion for Preliminary Approval of this           settlement, the parties   will   agree on a

methodology for calculating individual Settlement Payments.

            Each Authorized Claimant who has timely submitted the required tax and/or claim forms,

as specified herein (see Part      II.H, II.J.3 and II.K, infra), shall be entitled to receive a minimum of

$100.00 under this settlement. However, to the extent that Authorized Claimants do not timely

or properly submit the required tax and/or claim forms, opt out the settlement pursuant to the

procedures specifìed in Part II.J.3, infra, or otherwise elect not to accept the payment of their

designated share        of the Revised Gross    Settlement Amount, their share     of the Revised Gross

Settlement Amount         will remain the sole and exclusive property of Defendant.

            H.       Tax Treatment

            The parties agree that each Settlement Payment to be issued to each Authorized

Claimant pursuant to this Agreement shall be separated into two equal amounts: 50 percent

shall be allocated to the claims asserted in the Litigation for unpaid overtime and other claims

for unpaid wages; and 50 percent shall be allocated to the claims asserted in the Litigation for

liquidated damages and other            relief. The portion of   each Settlement Payment allocated to

claims of unpaid overtime and other wages will be subject to authorized or required deductions,

including employee-paid payroll tax withholdings required by law, garnishments, and tax liens.

However, Defendant          will   remain responsible for paying the employer's share of all required

payroll taxes, and the amount of such taxes is not included in the Gross Settlement Amount. The

portion of each Settlement Payment allocated to liquidated damages and other relief shall be


                                                       t9

2026427 I
     Case 3:12-cv-01082-WWE Document 281 Filed 01/26/16 Page 20 of 80




 characterized as non-wage income to the recipient

              The Settlement Administrator will report the portion of the Settlement Payment made to

 each Authorized Claimant attributable to wages on an I.R.S. Form Vy'-2, and the portion of the

 Settlement Payment attributable         to   non-wages on an I.R.S. Form      1099. Additionally,
Authorized Claimants          will be issued an I.R.S. Form 1099 for their pro rata share of       the

Plaintifß' Attorney's Fees and Plaintifß' Litigation Expenses provided to Plaintifß' Attorneys

pursuant to this Agreement and settlement. The Settlement Administrator shall be responsible

for issuing the settlement checks, less required withholdings and              deductions,   to   each

Authorized Claimant and mailing the settlement checks, Form W-2s, and Form 1099s to each

such individual.

              In order to allow for the proper tax withholdings from the Settlement Payments, and to

allow for the submission of information returns associated with those payments to                  the

appropriate tax authorities, each member of the Settlement Classes shall be required to provide

an I.R.S. Form W-4 and an I.R.S. Form W-9, or equivalent, before receiving a Settlement

Payment. Members of the Settlement Classes shall be provided with such forms (or equivalents)

by the Settlement Administrator as part of the notice process, described herein in Part II.J.2,

infra, and shall have 60 calendar days from the mailing of the notice packet to timely return them

to the Settlement Administrator via U.S. mail, e-mail, or facsimile if they wish to receive          a

Settlement Payment. Any such forms (or equivalents) postmarked more than 60 calendar days

after the mailing of the notice packet shall not be accepted by the Settlement Administrator,

unless actually received via facsimile or email no more than 60 calendar days after the mailing     of
the notice.




                                                    20

202642t   1
   Case 3:12-cv-01082-WWE Document 281 Filed 01/26/16 Page 21 of 80




              I.     Release of Claims

              In order to settle the Litigation, and as consideration for Defendant's   payment   of   the

Gross Settlement Amount, which shall provide for cash Settlement Payments to Authorized

Claimants, Service Awards, Plaintifß' Attorney's Fees, Plaintiffs' Litigation Expenses, and

Settlement Expenses, and the other good and valuable consideration described herein, Plaintifß

agree to release any claims they may have against Defendant only as described herein.

                     1.     Description of released claims

              Effective as of the Effective Date, each and every Named Plaintiff hereby forever

completely settles, compromises, releases, and discharges Defendant from any and all past and

present matters, disputes, claims, demands, rights, liabilities, expenses, damages, losses of any

kind, and causes of action of any kind whatsoever, whether at common law, pursuant to statute,

ordinance, or regulation, in equity or otherwise, and whether arising under federal, state, or other

applicable law, which any Named Plaintiff has or might have, known or unknown, asserted or

unasserted, of any kind whatsoever, that are based upon, relate to, or arise out of or reasonably

could have arisen out of the facts, acts, transactions, occurrences, events or omissions alleged in

the Litigation or by reason of the negotiations leading to this Agreement, except to the extent that

any such claim may not be waived as a matter of        law.   Each and every Settlement Class Member

hereby forever completely settles, compromises, releases, and discharges Defendant from any

and all past and present matters, disputes, claims, demands, rights, liabilities, expenses, damages,

losses of any kind, and causes of action, whether at common law, pursuant to statute, ordinance,

or regulation, in equity or otherwise, and whether arising under federal, state, or other applicable

law, which any Settlement Class Member has or might have, known or unknown, asserted or

unasserted, of any kind whatsoever, that relate to hours worked or the payment of wages, except


                                                     2t

2026421   1
     Case 3:12-cv-01082-WWE Document 281 Filed 01/26/16 Page 22 of 80




 to the extent that any such claim may not be waived as a matter of law. The claims released

 both Named Plaintifß and each and every Settlement Class Members specifically include

without limitation (i) any and all claims asserted in the Litigation; (ii) any and all claims for

unpaid wages, minimum \ /ages, overtime, late payment of wages, retaliation for complaining

about wages or for asserting wage-related claims and/or any other claims       of any kind, or   any

other wage-related or recordkeeping-related claims, damages or relief of any kind including but

not limited to the federal FLSA, 29 U.S.C. $ 201, et seq., any and all claims under Pennsylvania

state law, including but not limited to the Pennsylvania Minimum Wage Act, 43 Pa. Stat. Ann.

$ 330.101,   et seq., and Pennsylvania Wage Payment Collection Law, 42 Pa. Stat. Ann.

$ 330.101, et seq., and any and   all claims under Kentucky state law, including but not limited to

Kentucky's Wage and Hour Act, KRS Ch. 337 or any other statutes and/or regulations

regulating hours    of work, wages, the payment of           wages, retaliation, wage-related or

recordkeeping-related claims, the payment of minimum \ryages, and/or the payment of overtime

compensation;   (iii) any and all claims under state   and federal law for earned wages, overtime,

and/or missed or intenupted meal breaks, including such claims for breach of express contract or

labor agreement, implied contract, money had and received in assumpsit, quantum meruitlunjust

enrichment, fraud, negligent misrepresentation, equitable estoppel, promissory estoppel,

conversion, and failure to keep accurate records; (iv) any and all claims pursuant to or derived

from Employee Retirement Income Security Act of 1974 (ERISA),29 U.S.C. $ 1001, et seq.,to

the extent such ERISA claims are premised on an alleged failure to credit any Settlement Class

Member's account andlor benefits for all hours worked or all compensation paid or entitled to be

paid, but excluding any potential ERISA claim that is not based on an alleged wage and hour

violation; and (v) any and all wage-and-hour laws or wage-related claims of any kind under other


                                                22

202642? I
    Case 3:12-cv-01082-WWE Document 281 Filed 01/26/16 Page 23 of 80




laws, including but not limited to any and all such claims pursuant to other federal, local, or other

states' laws and/or regulations.

            This Release has no application to any claim by any Class Member for discrimination in

violation of state or federal law, or any claim of any type arising on or after the date the

settlement has received         final approval from the U.S. District Court for the District of

Connecticut, or any other court taking jurisdiction over this Litigation.

            The settlements, compromises, releases, and discharges described in the preceding

paragraph, with the exception of claims of retaliation, shall extend to any such claims that arose

at any time up to and including the date this settlement has received final approval from the U.S.

District Court for the District of Connecticut, or any other court taking jurisdiction over this

matter. With        respect   to claims of retaliation, such   settlements, compromises, releases, and

discharges shall extend to any such claims that arose at any time up to and including the date          of

the Order Granting Preliminary Approval.

                   2.     Agreement not to seek or accept relief in any other action

            The Settlement Class Members further covenant and agree that, since they are settling

disputed claims, they     will not accept, recover,   or receive any back pay, liquidated damages, other

damages, or any other form         of relief based on any claims   asserted or settled in this Litigation,

which may arise out            of or in connection with any other individual,           class, collective,

representative, administrative, or arbitral proceeding pursued by any individual, class, union, or

federal, state or local governmental agency against any Defendant. Settlement Class Members

further acknowledge that they are enjoined from pursuing any claim settled, compromised.

released, and/or discharged as part of this settlement.




                                                       23

2026427.1
     Case 3:12-cv-01082-WWE Document 281 Filed 01/26/16 Page 24 of 80




                     3.     Recognition of binding nature of release

              The parties agree that as of the Effective Date all Authorized Claimants   will   be bound by

the terms and conditions of this Agreement, the order by the U.S. District Court for the District

 of Connecticut, or any other court taking jurisdiction of the Litigation, granting final approval to

the Agreement and this settlement, the finaljudgment in the Litigation, and the releases set forth

herein.

              J.     Settlement Administrator and Notice Process

              The parties agree that Epiq Class Action    &   Mass Tort Solutions, Inc., a neutral third

party, shall serve as the Settlement Administrator for this settlement,         if approved by the Court
with jurisdiction over the Litigation. To that end, as part of their Motion for Preliminary

Approval, Plaintiffs shall request that the Court approve Epiq Class Action                &     Mass Tort

Solutions, Inc. to serve in this capacity and order Epiq Class Action       &   Mass Tort Solutions, Inc.

to perform the specific tasks assigned to the Settlement Administrator in this Agreement or by

order of the Court with jurisdiction over the Litigation, and only those tasks, unless otherwise

agreed        to by the Parties. This shall include the issuance of the agreed Notice of Settlement,

substantially in the forms attached hereto as Exhibit 1, to all members of the Settlement Classes

defined herein after entry of the Order Granting Preliminary Approval of the settlement outlined

in this Agreement.

                     1.     Providing and updating contact information            for   members     of   the
                            Settlement Classes

              Within 14 calendar days after the date the court enters an Order Granting Preliminary

Approval of this Agreement, Plaintifß will provide the Settlement Administrator with the names

and last known mailing address for the Named Plaintiffs and all Opt-in            Plaintiffs. V/ithin that



                                                     24

2026427   1
   Case 3:12-cv-01082-WWE Document 281 Filed 01/26/16 Page 25 of 80




same time period, Defendant           will provide the Settlement Administrator with the Social   Security

number for each Named Plaintiff and Opt-in Plaintiffs, as well as the natne, last known mailing

address, Employee            ID   number, and Social Security number for all other members of the

Settlement Classes from Defendant's records. This information          will remain confidential and will

not be disclosed to anyone (including Plaintiffs' Attorneys) other than the                   Settlement

Administrator, with the exception of applicable taxing authorities or pursuant to express written

authorization by the party providing the information or by court order.

              In order to   ensure that the Settlement Administrator has the most up to date addresses

possible, the Settlement Administrator shall update all addresses the parties provide for the

members          of the Settlement    Classes using the national change    of   address database and by

performing a "skiptrace." Any fees or costs incurred by the Settlement Administrator in

updating addresses are Settlement Expenses and are included in the Gross Settlement Amount.

                     2.       Mailing of the Notice of Settlement and related materials

              Within 30 calendar days after the Court enters an Order Granting Preliminary Approval

of the Agreement, the Claims Administrator will mail the Notice of Settlement. The Notice of

Settlement shall consist of a single mailing to all individuals who are members of the Settlement

Classes defined        herein. The Settlement Administrator shall issue the Notice of Settlement by

First Class U.S. Mail using envelopes that may include the name andlor logo of Plaintiffs'

Attorneys' law firms, if Plaintiffs' Attorneys provide their logos in a format that the Settlement

Administrator can use to print on the outside of the envelopes. Along with the Court-approved

Notioe of Settlement, the Settlement Administrator shall mail the tax and/or claim forms that

members of the Settlement Classes are required to complete in order to receive Settlement

Payments, as discussed in greater detail in Part II.H, supra) and Parts II.J.3 and      ll.K, infra,   and a



                                                        25

2026427   1
      Case 3:12-cv-01082-WWE Document 281 Filed 01/26/16 Page 26 of 80




 postage pre-paid return                 The Settlement Administrator shall not      send       kind of

 "reminder" notice to members of the Settlement Classes. Notwithstanding this fact, the

 Settlement Administrator may provide replacement copies             of the Notice of Settlement and
 related tax andlor claim forms to members of the Settlement Classes via the website discussed in

 Patt II.J.4,   infra. Additionally, should any member of the Settlement Classes            contact the

 Settlement Administrator to request replacement copies of the Notice       of Settlement    and related

tax andlor claim forms, the Settlement Administrator shall direct the individual to the website

 and/or mail such individual replacement copies.

                  3.     Responses to the Notice of Settlement

            The Notice of Settlement   will inform the Settlement Classes that any   Settlement Class

Member who wishes to receive a Settlement Payment must return an I.R.S. Form W-4 and an

I'R'S. Form W-9, or equivalent, to the Settlement Administrator. Additionally, any Settlement

Class Member who is not a Named Plaintiff or Opt-in Plaintiff must return a simple claim form,

a copy of which is included as Exhibit 2, in order to receive a Settlement Payment. Settlement

Class Members shall have no more than 60 calendar days following the mailing                of notice to
postmark, email, or fax required tax andlor claim forms to the Settlement Administrator. In the

event a member of the Settlement Classes submits the required tax and/or claim forms in a timely

manner (i.e., emailed, faxed, postmarked within the 60 days of the mailing of the Notice of

Settlement), but the tax and/or claim forms are incomplete or otherwise deficient in one or more

aspects, the Settlement Administrator       will (no later than 14 calendar days of receipt of the
incomplete or deficient form or forms) return the deficient document to the individual with a

letter explaining the deficiencies and stating that the individual   will have l0 calendar days from
the date the deficiency notice was mailed to correct the deficiencies and resubmit the document.


                                                  26

2026427 I
   Case 3:12-cv-01082-WWE Document 281 Filed 01/26/16 Page 27 of 80




The Settlement Administrator      will copy   counsel for the parties on such deficiency notices so that

Plaintiffs' Attorneys can assist class members in remedying any deficiency. The envelope

containing the corrected and resubmitted tax andlor claim forms must be postmarked within 10

calendar days of the date the deficiency notice is mailed to the individual to be considered

timely, unless the corrected forms are received by the Settlement Administrator via facsimile or

email within      l0   calendar days of the date the defrciency notice is mailed. The Settlement

Administrator's decision on whether the deficiency has been remedied shall be binding on the

parties and the individual member of the Settlement Classes.

            The Notice of Settlement   will   also explain the option for members of the Settlement

Classes who are not Named Plaintiffs          or Opt-in Plaintiffs to opt out of the settlement. Opt-in

Plaintiffs, who previously consented to be bound by any settlement of this action, shall not be

provided the opportunity to opt out of the settlement without ftrst receiving Court approval. Any

request for exclusion submitted by a Named or Opt-in Plaintiff who has not received prior Court

approval shall be rejected, and the Settlement Administrator shall contact such individuals to

inform them that they may not opt out of the settlement without first receiving Court approval.

            Members of the Settlement Classes who are not Named Plaintiffs or Opt-in Plaintiffs and

who wish to opt out of the settlement must submit a written statement expressly asserting that he

or she wishes to be excluded from the settlement. Such written statements should state at the top

of the letter "Request for Exclusion from Settlement in Tomkins, et al. v. Amedisys,lnc., No.

3:12-cv-1082 (WWE)," and should include the name, address, telephone number, and signature

of the individual requesting exclusion from the settlement, All written requests for exclusion

must be returned by First-Class U.S. Mail to the Settlement Administrator and must                    be


postmarked no later than 60 calendar days from the postmark of the Notice of Settlement sent to


                                                     27

2026427 I
     Case 3:12-cv-01082-WWE Document 281 Filed 01/26/16 Page 28 of 80




members          of the   Settlement Classes.   Any member of the Settlement Classes who           requests

exclusion from the settlement will not be eligible to receive a Settlement Payment and cannot

object to the settlement. In the event that any member of the Settlement Classes timely and

properly submits a written request for exclusion, and also timely submits the required tax and

claim form necessary to receive a Settlement Payment, or also timely submits an objection to the

Settlement, the Settlement Administrator shall contact such individual, inform them that they can

cannot request exclusion from the settlement and request a Settlement Payment and/or object to

the settlement, and shall ask such individual which option they wish to pursue. Any member               of
the Settlement Classes who requests exclusion from the sefflement will not be legally bound by

the terms of the Agreement or the final order approving the settlement. In contrast, any member

of the Settlement Classes who does not return a valid and timely written request for exclusion

will be bound by all terms of the Agreement                and the final order approving the settlement,

regardless of whether they have objected to the settlement.

              Additionally, the Notice of Settlement will inform the Settlement Classes of their right to

object to the settlement and that to do so they must file with the U.S. District Court for the

District of Connecticut, and serve on counsel for the parties, either a written statement objecting

to the settlement or a written notice of their intention to appear and object at the Final Settlement

Hearing. Such written statement or notice must be filed and served within 60 calendar days after

the mailing date of the Notice of Settlement. Persons who are included in the Settlement Classes

who fail to timely file and serve written objections or notice of intention to appear and object in

the manner specified above        will   be deemed to have waived any objections and   will   be foreclosed

from making any objection to the settlement, whether by appeal or otherwise.

              The Settlement Administrator shall provide to counsel for both parties, within 90 days     of

                                                      28

2026427   I
   Case 3:12-cv-01082-WWE Document 281 Filed 01/26/16 Page 29 of 80




the mailing of the Notice of Settlement a declaration frotn an appropriate agent or                 agents


working for it, stating under penalty of perjury: (a) the nalnes and addresses of all individuals to

whom the Settlement Administrator mailed notice of the proposed settlement, but on Plaintiffs'

copy, redacting the names and addresses for any individuals who are not Named Plaintifß, or

Opt-in plaintiffs, or Authorized Claimants; (b) whether each such individual was an Opt-in

plaintiff or other Settlement Class Member; (c) the form of notice sent to each such individual;

(d) whether each such individual timely and properly submitted the required forms to receive a

Settlement Payment and,       if   so, the amount of that payment; and (d) the identify of all such

individuals who are not Named Plaintifß or Opt-in Plaintiffs and who validly and timely

requested exclusion from the settlement. The Settlement Administrator shall not disclose
                                                                                         to

plaintiffs or Plaintiffs' Attorneys the names, addresses, contact information, or other personal

identiffing information for Settlement Class Members who are not Named Plaintiffs or Opt-in

plaintiffs or Authorized Claimants without the express written consent of Defendant's counsel.

                   4.     SettlementAdministrator'swebsite

             In addition to mailing the Notice of     Settlement, the Settlement Administrator shall

maintain a simple website from the date that the Notice of Settlement is mailed until 60 calendar

 days following the mailing of the Notice         of Settlement. The    Settlement Administrator shall

 deactivate the site on the   6l   calendar day following the mailing of the Notice of Settlement. This

                                                                                              the
 website shall: (i) provide a brief summary of who is to receive the Notice of Settlement and

 purpose of the Notice    of Settlement; (ii) provide members of the Settlement Classes with         access


 to downloaclable c1¡pics of the Notice of Settlcmcnt and the required tax and/or claim forms they

 are required to submit in order to receive a Settlement Payment; and       (iii)   contact information f'or


 the Settlement Administrator. The parties shall agree as to the URL for the                     Settlement



                                                      29

 2026427.1
      Case 3:12-cv-01082-WWE Document 281 Filed 01/26/16 Page 30 of 80




  Administrator's websi        as   well

  is operational.

                      5.     Communications regarding notice process

               Other than through the Court-approved Notice of Settlement to be mailed to members      of
 the Settlement Classes by the Settlement Administrator, the website referencecl in the preceding

 section that is to be maintained by the Settlement Administrator, the agreed statements on

 Plaintiffs'Attorneys'firm websites that are discussed below in Part II.L.1, and assisting in

 curing deficiencies as described in Part II.J.3, neither Plaintiffs' Attorneys, nor Defendant or its

 counsel, shall initiate contact with any member of the Settlement Classes regarding the Notice
                                                                                                or

 Settlement or the claims process. That being said, Plaintiffs' Attomeys shall remain free to

 discuss these issues with any member        of the Settlement   Classes   who first contacts plaintifß,
 Attorneys regarding such issues.

              K.     Claims Made Procedure

              In order to allow for the proper tax withholdings from the Settlement payments, and to

allow for the submission of information returns associated with those payments to                    the

appropriate tax authorities, each Authorized Claimant shall be required to provide an I.R.S.
                                                                                             Form

W-4 and an I.R.S. Form W-9, or equivalent, before receiving a Settlement payment. Each

named plaintiff and Opt-in Plaintiff participating in the settlement,       will submit   an I.R.S. Form

W-4 and an I.R.S. Form W-9, or equivalent. Addition ally, any Settlement Class Member who is

not a Named Plaintiff or Opt-in Plaintiff must return a simple claim form, a copy of which is

included as Exhibit 2, in order to receive a Settlement payment.

              To the extent that any member of the Settlement Classes does not timely submit the

required tax and/or claim forms, chooses to opt out the settlement, or otherwise elects not to


                                                   30

2026427   1
    Case 3:12-cv-01082-WWE Document 281 Filed 01/26/16 Page 31 of 80




accept the payment        of their   designated share   of the Revised Gross Settlement Amount, their

share   will remain the sole and exclusive property of Defendant.

         L.        Communications Regarding the Settlement, Claims Against Defendant, and
                   the Parties to the Litigation

                   1.      Public Comment and Non-disclosure

         The parties agree that, except as provided for in Section J governing Notice, they     will not

publicize the settlement of the Litigation, any details of that settlement or this Agreement, or any

of the events and negotiations surrounding the Agreement or settlement, until after the Effective

Date. After the Effective Date, the parties agree that Named Plaintiffs and Plaintiffs' Attorneys

and Defendant and Defendant's counsel            will not disclose   the terms of the settlement or this

Agreement to any third parties, except to immediate family, attorneys, tax counselors, or             as


required by      law. If   asked about the settlement or this Agreement by any third party, Named

plaintiffs and plaintiffs' Attorneys, and Defendant and Defendant's counsel, will acknowledge

only    that: ..The action was resolved on a satisfactory            basis;" andlot that "[Plaintiffs or

Defendant] and their counsel believe they have reached a fair and reasonable settlement of
                                                                                           the


disputed claims." For purposes of this provision, "Defendant" constitutes its corporate Legal

personnel,       its    corporate Human Resources personnel,            its corporate marketing and
communications personnel, and its corporate ofltcers and directors.

             Notwithstanding the foregoing, Plaintifß' Attorneys shall be permitted          to list the

 existence of the settlement on this action on their fìrms' websites.            In doing so, however,

 plaintiffs, Attorneys may not disclose any of the specific terms of the settlement or this

 Agreement, inclrrding the amount           of the settlement. Their      websites may, however, refÞt'

 members        of the   Settlement Classes who have questions about the settlement,            or   need




                                                         3l

 2026427 t
       Case 3:12-cv-01082-WWE Document 281 Filed 01/26/16 Page 32 of 80




       lacement           of
  required tax andlor claim forms, to the website maintained by the Settlement Administrator,

  which is discussed, supra, in part II.J.4.

                    2.     Non-Solicitation

             As explained in Part ILJ.5, supra, neither Plaintifß'Attorneys, nor Defendant or      its

  counsel, shall contact any member of the Settlement Classes regarding the Notice
                                                                                   or Settlement
  or the claims process' However, Plaintiffs' Attorneys shall remain free to discuss these
                                                                                           issues

 with any member of the Settlement Classes who first contacts Plaintifß' Attorneys regarding

 such issues.

            Similarly, the Named Plaintifß, Opt-in Plaintifß, and Plaintiffs' Attorneys will not

 contact, solicit, or otherwise encourage other current or former employees of Defendant
                                                                                         to assert
 claims against Defendant. However, should one of Defendant's current or former employees

 who is not already a Named Plaintiff or Opt-in Plaintiff contact Plaintifß, Attorneys about
                                                                                                     a

 potential claim against Defendant, Plaintifß' Attorneys will be free to follow their professional

judgment in advising such an individual about a potential claim regarding
                                                                          Defendant.

                   3.     Non-Disparagement

            Both Plaintiffs and Defendant will refrain from disparagement of the other. For purposes

of this clause, "Defendant" constitutes its corporate Legal personnel, its corporate         Human

Resources personnel, Defendant's counsel in this matter, and its corporate officers
                                                                                    and directors.

            M.     No Right to Rehire

            Named Plaintifß agree that they shall have no right to rehire with Defendant. However,

Defendant agrees that, notwithstanding Named Plaintifß' waiver         of any right to rehire, in the
event any Named Plaintiff is employed by another company that is acquired by
                                                                             Defendant,


                                                  32

2026427.1
   Case 3:12-cv-01082-WWE Document 281 Filed 01/26/16 Page 33 of 80




Defendant shall not automaticatly terminate such Named Plaintiff as a result of their waiver          of

any right to rehire by Defendant in this Agreement. Nor shall this "No Right to Rehire"

provision bar       a Named Plaintiff from      asserting   a potential legal claim, resulting from

Defendant's termination of Named Plaintiff following Defendant's prospective acquisition of

another company where Named Plaintiff is already employed.

         N.         Service Awards

         As part of the settlement, Plaintiffs will request Service Awards for the Named Plaintiffs

and for Opt-in Plaintiffs Joann Carter and Kevin Sautel, who served as proposed                    class


representatives,      but who were never formally added as named plaintiffs to the            operative


complaint. Defendant agrees not to oppose such a request, so long        as the amount   of the Service

Awards sought for the Named Plaintifß does not exceed $10,500 each, and the amount of the

Service Awards sought for Opt-in Plaintifß Joann Carter and Kevin Sautel do not $6,250 each.

             O.     Plaintiffs'Attorneys'FeesandLitigationExpenses
             plaintiffs' Attorneys may make an application or applications to the U.S. District Court

for the District of Connecticut, or any other Court taking jurisdiction over the Litigation, for an

award of Plaintiffs' Attorney's Fees and an award of Plaintiffs' Litigation Expenses. The

amount of the Plaintiffs' Attorney's Fees        will not   exceed one third   of the Gross   Settlement


Amount. The amount of Plaintiffs' Litigation              Expenses shall not exceed $112,000. Such

application or applications shall be filed in connection with the Motion for Preliminary Approval

of the Agreement and this settlement. Defendant will not oppose any such application for fees or

costs, provided that      Plaintiffls Attorneys do not seek to recover attorney's fees in excess of   one


third of the Gross Settlement Amount and do not seek to recover litigation costs that are not

 taxable pursuant to 29 U.S.C. $ 1920 and do not exceed $112,000.


                                                     JJ


 2026427 I
      Case 3:12-cv-01082-WWE Document 281 Filed 01/26/16 Page 34 of 80




             If the Court
  Plaintifß' Attorney's Fees or Plaintiffs' Litigation Expenses are excessive or improper,              and

 reduces the same, only the reduced amounts       will   be deemed to be   Plaintifß' Attorney,s   Fees and

 Plaintiffs' Litigation Expenses for purposes of this Agreement. Any remaining or reduced

 amounts shall be added to the Revised Gross Settlement Amount available               for distribution to
 Authorized Claimants.

            Payment   of    such Plaintifß' Attorney's Fees and Plaintiffs' Litigation Expenses to

 Plaintifß' Attorneys as set forth in this Agreement, and payment of Settlement Expenses, shall

 constitute full satisfaction of any and all obligations by Defendant to pay any person, attorney, or

 law firm (including but not limited to Plaintiffs' Attorneys) for attorneys' fees, expenses, or costs

 (including but not limited to any fees, costs, and expenses related              to any experts     and/or

 consultants and any fees, costs, and expenses associated with mediation) incurred on behalf all

 members of the Settlement Classes, and shall relieve Defendant of any other claims or liability to

 any person for any attomeys' fees, expenses, and costs to which any person may claim to be

entitled on behalf of any members of the Settlement Classes forthis Litigation. Upon payment

of Plaintiffs' Attorney's      Fees and Plaintiffs' Litigation Expenses hereunder, and payment          of
Settlement Expenses, Plaintiffs'Attorneys and members of the Settlement Classes shall release

Defendant from any and all claims for attorneys' fees, expenses, and costs relating to this

Litigation.

            Plaintiffs' Attorney's Fees and Litigation Expenses, and the Settlement Expenses, will be

paid solely from the Gross Settlement Amount. In no event shall any award of plaintiffs,

Attorney's Fees and Litigation Expenses to Plaintifß' Attorneys, or the payment of Settlement

Expenses, cause Defendant to pay more than the Gross Settlement Amount in             full satisfaction of

                                                   34

2026427 I
    Case 3:12-cv-01082-WWE Document 281 Filed 01/26/16 Page 35 of 80




all its obligations under this Agreement.

         p.        Funding of Gross Settlement Amount and Payments from Gross Settlement
                   Amount

                   1.       Defendant's payment of the Gross Settlement Amount

             Defendant   will   pay the Gross Settlement Amount to the Settlement Administrator seven

calcndar days after the Effective Date, where        it shall be depositecl   anrl maintained in a Qualified


Settlement Fund.

                   2            Settlement Administrator's issuance       of    Settlement Payments to
                                Authorized Claimants

             Within 15 calendar days Defendant's payment of the Gross Settlement Amount                    is


received by the Settlement Administrator, the Settlement Administrator                 will make Settlement

payments by U.S. Mail to each Authorized Claimant. The checks making such Settlement

payments shall include language, to be agreed to by the parties, indicating that by signing the

check the Authorized Claimant acknowledges the release of claims set forth, supra, in Part II.I.

Copies of each negotiated check showing this acknowledgment and the Authorized Claimant's

signature shall be provided to Defendant by the Settlement Administrator.

             Those members of the Settlement Classes who have properly and timely opted out of the

settlement are not Authorized Claimants and are not entitled                    to a   Settlement Payment.

Additionally, any Settlement Class Member who did not timely submit to the                        Settlement


Administrator an I.R.S. Form W-4 and an LR.S. Form W-9, or equivalent, and any Settlement

Class Member who is not a Named Plaintiff or Opt-in Plaintiff who did not timely return a claim

 form, a copy of which is incluclecl as Fxhihit 2, is not an Authorizecl Claimant and is not entitled

 to any Settlement Payments. 'l'he             Settlement Administrator's determinatitln       tll' whctlter   a


 member of the Settlement Classes is an Authorized Claimant             will   be conclusive and binding on



                                                       35


 2026427.1
      Case 3:12-cv-01082-WWE Document 281 Filed 01/26/16 Page 36 of 80




  all Settlement Class Mem

  set forlh in Part lI.Q,   infra.   Regardless of whether or not a member of the Settlement Class is an

  Authorized Claimant, the Settlement Administrator shall send each such individual a copy of the

  Court's order granting final approval to this settlement agreement by U.S. Mail, at the same time

 that it issues Settlement Payments to Authorized Claimants.

            Each Authorized Claimant who is entitled to receive a Settlement Payment            will   have 90

 calendar days from the date on which the Settlement Payment is mailed to negotiate his
                                                                                        or her

 settlement check.       If   any settlement check is not negotiated in that period of time, that

 settlement check     will be voided,     and a stop-payment       will be placed on the settlement check.
 Any individual Settlement Payments which remain unclaimed for any reason 90 calendar days

 following the mailing of the Settlement Payment shall be deemed unclaimed. In such event,

 the Authorized Claimants whose Settlement Payment is unclaimed                   will be deemed to have
 irrevocably waived any right in or claim to any Settlement Payment, but the Agreement and

 release of claims contained therein nevertheless          will   be binding upon them. Unless otherwise

 required by the relevant states'escheatment laws, 100 percent of such unclaimed funds shall
                                                                                             be

available for an additional 60 calendar days (!¿,,150 calendar days following the mailing of

the Settlement Payment) to pay claims of Settlement Class Members who (a) were erroneously

not sent notice; or (b) would otherwise be deemed ineligible due to late submission of required

forms,      if the Settlement Administrator     deems,   in its sole discretion, that the late submission
was due to excusable neglect or circumstances outside the Settlement Class Member's control.

Following that additional 60-day period, unless otherwise required by the relevant states,

escheatment laws, and unclaimed funds not redistributed                in   accordance   with the preceding
sentence shall revert to and remain the exclusive property of Defendant.



                                                      36

2026421 I
   Case 3:12-cv-01082-WWE Document 281 Filed 01/26/16 Page 37 of 80




              Neither Defendant, counsel for Defendant, Plaintiffs' Attorneys, Plaintiffs, nor the

Settlement Adrninistrator shall have any liability for lost or stolen settlement checks, for forged

signatures on settlement checks, or for unauthorized negotiation of settlement checks. Without

limiting the foregoing, in the event an individual entitled to receive a Settlement Payment           and


notifies the Settlement Administrator that he or she believes that a settlement check has been

lost or stolen, the Settlement Administrator shall immediately stop payment on such check.              If
the settlement check in question has not been negotiated prior to the stop payment order, the

Settlement Administrator         will   issue a replacement check, from which the fees associated with

the stop payment order will first be deducted. Any individual entitled to receive a Settlement

Payment who receives a re-issued check            will   have an additional 45 calendar days to negotiate

such re-issued check from the date of its         mailing. If any settlement check is not negotiated in

that period of time, that settlement check        will   be voided.

              At an appropriate time following the issuance of        Settlement Payments   to Authorized

Claimants, the Settlement Administrator          will    issue to each Authorized Claimant an I.R.S. Form

W-2 for the portion of his or her Settlement Payments attributable to wages, an I.R.S. Form

1099 for the portion of his or her Settlement Payment attributable to non-wages, and an I.R.S.

Form 1099 for his or her pro rata share of the Plaintiffs' Attorney's Fees and Plaintiffs'

Litigation Expenses provided to Plaintifß' Attorneys pursuant to this Agreement and settlement.

                     3.      Settlement Administrator's payment           of Plaintiffs' Attorney's   Fees
                             and Plaintiffs' Litigation Expenses

              PlaintifTs' Attorney's Fees and Plaintiffs' Litigation Expenses, as authorized by the court

with juriscliction over the Litigatioll, will be paid by the Settlement Administrator from thc Gross

Settlement Amount within five calendar days after receipt of the Gross Settlement Amount, or



                                                          )t

2026427   1
       Case 3:12-cv-01082-WWE Document 281 Filed 01/26/16 Page 38 of 80




within five calendar days of a court order in this Litigation awarding Plaintiffs'Attorney's Fees

and    Plaintifß' Litigation Expenses to Plaintifß' Attorneys, whichever is later. Prior to payment

of any Plaintifß' Attorney's          Fees or Plaintiffs' Litigation Expenses   to Plaintiffs'   Attorneys,

Plaintiffs' Attorneys shall inform the Settlement Administrator of the proper apportionment of

the Plaintifß' Attorney's Fees and Plaintifß' Litigation Expenses authorized by the court

between their respective firms.

              The Settlement Administrator     will   issue an I.R.S. Form 1099   to each of Plaintiffs'
Attorneys firms for the payments and each of Plaintifß' Attorneys firms                will provide     the

Settlement Administrator with completed I.R.S. Form V/-9s.

                       4.     Settlement Administrator's payment of Service Awards

              Service Awards for the Named Plaintifß and for Opt-In Plaintifß Joann Carter and Kevin

Sautel,       if   authorized by the court with jurisdiction over the Litigation,   will be paid by the
Settlement Administrator from the Gross Settlement Amount within frve calendar days after

receipt of the Gross Settlement Amount, or within five calendar days of a court order in this

Litigation authorizing such Service Awards, whichever is later. The Settlement Administrator

will   pay the Service Awards ordered by the Court directly to the individuals ordered by the Court

to receive such payments.

              At an appropriate time following the issuance of such Service Payments the Settlement

Administrator will issue to each recipient an I.R.S. Form 1099 that accounts for the payment of

the Service Awards.

                      5.      Payment of the Settlement Administrator's Expenses

              The charges and costs incurred by the Settlement Administrator in performing its duties

under this Agreement          will be paid solely from the Gross   Settlement Amount. The Settlement


                                                       38

2026427   1
   Case 3:12-cv-01082-WWE Document 281 Filed 01/26/16 Page 39 of 80




Administrator shall determine the final amount of such charges and costs prior to rnailing the

Notice of Settlement. Disputes of any kind relating to the Settlement Administrator will be

resolved pursuant to the dispute resolution procedures set forth in Part      ll'Q, infra, if they cannot

be resolved informally by the parties. The Settlement Administrator          will regularly   report to the

pafties, in written form, the substance of the work performed, including all amounts paid under

this Agreement.

             a.     Dispute Procedure

             Except as otherwise set forth herein (see Parts lI.Z 8.II.DD.I, infra), in the event of a

dispute concerning the proper interpretation             of the Agreement, the enforcement of this

Agreement, the parties' rights or obligations under the Agreement, or any alleged breach of the

terms of the Agreement, notice must be mailed to counsel for the opposing party as provided
                                                                                            in

part   II.y, infra. After receipt of such notice, the parties shall meet and confer in a good faith

attempt to resolve the matter for       l0   calendar days. In the event those efforts are unsuccessful,

and one or more of the parties attempts to institute any legal action or other proceeding against

any other party or parties to enforce the provisions of this Agreement or to declare rights

 andlor obligations under this Agreement, the successful party or parties shall be entitled to

recover from the unsuccessful party or parties reasonable attorneys' fees, expenses, and costs,

 including expert witness fees incurred in connection with any enforcement actions, and any

 damages incurred.

             R.      Assignment of Claims

             l)efendant and its counscl. and Plaintiffs' Attorneys, Named Plaintiffs, and proposed

 named plaintiffs Joann Carter and Kevin Sautel, t'or themselves and on behalf of all Opt-in

 plaintifß and all other members of the Settlement Classes, represent, covenant and warrant that


                                                       39

 2026427.1
      Case 3:12-cv-01082-WWE Document 281 Filed 01/26/16 Page 40 of 80




        have not            or indirectl

  any liability, claim, demand, action, cause of action, or rights herein released and discharged

  except as set forth herein.

             The parties further agree that this Agreement          will be binding upon,   and inure to the

  benefit     of   the parties, and their respective heirs, trustees, executors, successors,           legal

 administrators, and assigns.

            S.      Denial of Liability

            Defendant denies that    it   has failed   to comply with the law in any respect, or has any
 liability under the claims asserted in the Litigation. The parties acknowledge that this

 Agreement is entered into for the purpose             of compromising disputed claims and that nothing
 herein is an admission of liability, wrongdoing, or the propriety of collective or class treatment

 by Defendant. Neither the Agreement nor any document prepared in connection with the

 settlement may be admitted in any proceeding as an admission by Defendant. Notwithstanding

 this paragraph, any and all provisions of this Agreement may be admitted in evidence and used

 in any proceeding to enforce the terms of this Agreement or in defense of any claims released or

barred by this Agreement.

            Additionally, no party will be considered a prevailing party in this Litigation for any

purpose, except with respect to the evaluation of Plaintiffs' motion for an award of
                                                                                     attorneys,

fees, for which     Plaintifß will be treated   as a   prevailing party.

            T.     Construction and Interpretatio

            The parties hereto agree that the terms and conditions of the Agreement are the result       of
lengthy, intensive, arms-length negotiations among the parties, through counsel, and the

Agreement shall not be construed           in favor of or against any party by reason of the extent to


                                                         40

2026427'l
    Case 3:12-cv-01082-WWE Document 281 Filed 01/26/16 Page 41 of 80




which any party or his, her, or its counsel participated in the drafting of the Agreement.

            Paragraph and section titles are inserted as a matter of convenience for reference, and

in no way define, limit, extend, or describe the scope of this Agreement or an of                  its

provisions. With the exception of Part I, supra, each term of this Agreement is contractual

and not merely a recital.

            All exhibits   attached to the Agreement, and referenced herein, are incorporated into the

Agreement by such references and are a material part of this Agreement. Any notice or other

exhibit that requires approval of the Court must be approved without material alteration from its

cunent form in order for this Agreement to become effective.

            This Agreement shall be governed by and enforced in accordance with the laws of the

State of Connecticut.

            U.     Modification

            This Agreement, and any of its parts, may be amended, modifred, or waived only by an

express written instrument signed by all signatories below or their successors-in-interest.

            V.     Counterparts

            This Agreement may be executed in one or more counterparts. All executed counterparts

and each of them      will   be deemed to be one and the same instrument. Any executed counterpart

will   be admissible in evidence to prove the existence and contents of this Agreement.

            W.     Return Of Discovery

            Plaintiffs and Plaintiffs' Attorneys agree to return to Defendant or destroy all discovery

obtained from Defendant during the course of the Litigation within 60 calendar days of the

Effectlve Date. This includes all copies t-rl'suuh clisuuvcly, whetlter in hardcopy or electronic

format. However, Plaintiffs' Attorneys may retain a copy of all pleadings filed in this matter,


                                                      41


2026427.1
       Case 3:12-cv-01082-WWE Document 281 Filed 01/26/16 Page 42 of 80




 including any exhibits thereto. Further, Plaintiffs' A          S         retain       work           which

refers to or quotes from discovery documents. Plaintiffs' Attorneys                 will notify Defendant   in

writing if they orPlaintiffs electto destroy discovery. Plaintiffs and Plaintiffs'Attorneys agree

not to send or otherwise disseminate discovery to any other individual or entity before its return

or destruction.

              X.      Waiver of Right To Object

              By signing this Agreement, Named Plaintifß and Joann Carter and Kevin Sautel agree to

be bound by its terms. Like all of the Opt-in Plaintiffs, these individuals previously executed a

written consent to participate in the Litigation as party plaintiffs, which was filed with the Court,

agreeing to be bound by any settlement of the         Litigation. Accordingly, Named Plaintiffs          and

Joann Carter and Kevin Sautel agree not to request to be excluded from the settlement and not to

object to any of the terms of the settlement. Any request for exclusion by Named Plaintiffs and

Joann Cafter and Kevin Sautel,          or any objection by them, will be void and have no force        and

effect. Likewise, Defendant agrees to be bound by the terms of this settlement and agrees not to

object to any of the terms of the settlement. Non-compliance by Defendant with this paragraph

will   be void and have no force and effect.

              Y.     Notices, Demands, and Communications Concerning the Settlement

              Unless otherwise specifically provided herein,         all   notices, demands,      or   other

communications given hereunder shall be in writing and shall be deemed to have been duly

given as of the third business day after mailing by First Class U.S. Mail, addressed as follows:


              andlor Plaintiffs' Attornevs   :


                   Christine E. Webber, Esq.
                   COHEN MILSTEIN SELLERS &.TOLL PLLC


                                                     42

2026427   1
   Case 3:12-cv-01082-WWE Document 281 Filed 01/26/16 Page 43 of 80




              1100 New York Avenue, N.\ùy',, Suite 500 East
              Washington, DC 20005
              cwebber@cohenm ilstein.com

        To Defendant andlor counsel for Defendant:

              Michael S. Mclntosh, Esq.
              LITTLER MENDELSON, P.C.
              1650 Tysons Boulevard, Suite 700
              Mcl.ean, VA22102
              mmcintosh@l ittler.com

        Z.        Form and Content Resolution

        The parties agree they must reach agreement on the form and content of the Agreement

and its exhibits, as well as: Plaintiffs' unopposed motion for preliminary approval of the

settlement and authorizationto send notice to members of the Settlement Classes concerning the

settlement and the final fairness hearing; a proposed order granting the same unopposed motion;

the notices to be sent to members of the Settlement Classes concerning the settlement, including

the format of the tax forms they are required to complete in order to receive a Settlement

Payment;the website to be run by the Settlement Administrator (discussed in Part II'J.4, supra);

Plaintiffs' unopposed motion for final approval of the settlement; and a proposed order granting

the same unopposed motion.

            The parties agree that in the event they dispute and reach impasse as to any of the

settlement terms, or the form and content of any documents listed in the preceding paragraph, or

any other document necessary to effectuate the Agreement, that cannot be resolved among the

parties themselves, or, where appropriate, with the assistance of the Settlement Administrator,

any antl all such disputes rnay be submittccl to mcclintor Hunter R. Hughes for final and binding

resolution. The cost incurred for the services of Mr. Hughes shall be paid entirely from the

Gross Settlement Amount, and the parties shall bear their own respective expenses for attorneys'


                                                  43

2026427.1
      Case 3:12-cv-01082-WWE Document 281 Filed 01/26/16 Page 44 of 80




                       and co

             AA.       Authorization

             Plaintiffs' Attorneys warrant and represent that they are fully authorized by plaintiffs,

 and the attorneys for Defendant warrant and represent that they are fully authorized by

 Defendant, to take all appropriate action required or permitted by this Agreement. The parties

 agree      to fully   cooperate   with each other to accomplish the terms of the settlement and this

 Agreement, including, but not limited to, execution of such documents and to take such other

 action as may reasonably be necessary to implement the terms of the Agreement. The parties to

 the Agreement shall use their best efforts, including all efforts contemplated by the Agreement

 and any other efforts that may become necessary by order of the U.S. District of Connecticut, or

 any other court taking jurisdiction over the Litigation, or otherwise, to effectuate the Agreement

 and the terms set forth        herein. If the parties are unable to reach agreement on the form or content

of any document needed to implement this Agreement, the parties agree, in accordance with part

lI.Z, supra, to seek the assistance of mediator Hunter R. Hughes.

            BB.    Dismissal

            Upon entry of a final order approving this Agreement, Plaintifß agree to execute all

documents necessary to dismiss with prejudice any and all claims raised against Defendant in the

Litigation. But if an appeal leads to reversal of approval of this Agreement, then the parties

agree that the claims      will   be reinstated as   if never dismissed as described in Part II.DD.3(d).

            CC. Reasonableness Of Settlement
            The parties believe that this is a fair, reasonable, and adequate settlement and have

arrived at this settlement through arms-length negotiations, taking into account all relevant

factors, present and potential.



                                                          44

2026427 I
   Case 3:12-cv-01082-WWE Document 281 Filed 01/26/16 Page 45 of 80




        DD.        Termination of the Settlement Agreement

                   1.       Grounds for Settlement Termination:

        This Agreelnent may be terminated on the following grounds:

            (a.)   Plaintifß' Attorneys or Defendant's counsel may terminate the Agreement if     the


Court declines to enter an Order Granting Preliminary Approval, an order granting final approval

to this settlement, or judgment in substantially the same form as that submitted by the parties, or

the Agreement does not become final for any other reason, or a Court of Appeals reverses the

entry of an order granting frnal approval to this settlement or a final judgment in this Litigation

following such an order, provided that the parties agree to work cooperatively and in good faith,

including mediating unresolved differences with mediator Hunter R. Hughes for a period of

fourteen (14) calendar days, to address and resolve any concerns identified by the Court in

declining to enter an Order Granting Preliminary Approval, an order granting final approval to

this settlement, or judgment in the form submitted by the parties.

            (b.)   If   25 percent or more of the members of the Settlement Classes who are not Opt-

in Plaintiffs exercise their rights to opt out of the settlement and this Agreement, as described in

Part II.J.3, supra, Defendant shall have the right, notwithstanding any other provisions of this

Agreement, to withdraw from this Agreement, whereupon the Agreement            will   be null and void

for all purposes and may not be used or introduced in the Litigation or any other proceeding of

any kind.

                   2.        Procedures for Termination:

            To terminate this Agreement on one of the grouncls specified above, the terminating

Counsel (i.e., Plaintitß' Attorneys or counsel for Defendant) shall give writtcrt rtol"icc tu the

opposing counsel no later than:


                                                     45

2026421 I
      Case 3:12-cv-01082-WWE Document 281 Filed 01/26/16 Page 46 of 80




                    a.     15 business     s after the Cou

                   (b.)    15 business days after Defendant receives notice from the Settlement

 Administrator that the requisite number of members of the Settlement Classes who are not Opt-in

 Plaintiffs have timely requested exclusion from the settlement.

                   3.     Effect of Termination:

            In the event that this Agreement is canceled, rescinded, terminated, voided, or nullified,

 however that may occur, or the settlement of the Litigation is barred by operation of the law, is

 invalidated, is not approved or otherwise is ordered not to be carried out by any court:

                   (a.)   The Agreement shall be terminated and shall have no force or effect, and

 no party shall be bound by any of its terms;

                   (b.) In the event the Agreement is terminated,             Defendant shall have no

obligation to make any payments to any Plaintiffl any member of the Settlement Classes, or

Plaintifß' Attorneys, except that the parties shall     be   jointly responsible (i.e.,   each party   will   be

responsible for 50Yo of fees due) for paying the Settlement Administrator for services rendered

up to the date the Settlement Administrator is notified that the Agreement has been terminated;

                  (c.)    Any Order Granting Preliminary Approval, granting final approval to this

settlement, andlor judgment, including any order of class certification, shall be vacated;

                  (d.)    The Agreement and all negotiations, statements, and proceedings relating

thereto, shall be without prejudice to the rights of any of the parties, all of whom shall be

restored to their respective positions in the action prior to the settlement;

                  (e.)    Neither this Agreement, nor any ancillary documents, actions, statements,

or filings in furtherance of settlement (including all matters associated with the mediation) shall




                                                   46

2026427.1
    Case 3:12-cv-01082-WWE Document 281 Filed 01/26/16 Page 47 of 80




be admissible or offered into evidence in the Litigation or any other action for any purpose

whatsoever;

                   (f.)   Defendant shall reserve the right to oppose class-action certification and to

move to decertify plaintiffs' conditionally certified FLSA collective action should the Agreement

not become final.

            EE.    Disclosure Required by Securities Law

            Notwithstanding anything to the contrary in this Agreement, it is understood and agreed

that Defendant shall be permitted to make such disclosures concerning the settlement and this

Agreement as, in the opinion of its securities counsel, are required by the securities laws of the

United States and the rules of any applicable stock exchange,         if   any, without the necessity of

providing prior notice to Plaintiffs or obtaining Plaintiffs' consent.

            F'F.   Integration Clause

            After this Agreement is fully executed by all parties,         it will   constitute the entire

Agreement of the parties and fully supersedes any and all prior agreements or understandings,

written or oral, between the parties pertaining to the subject matter hereof, including, but not

limited to, any and all written and oral agreements reached between the parties during the

mediation that resulted in this Agreement. This integration clause does not apply to the parties'

Confrdential Mediation Agreement entered into by the parties March 31,2015, or the Stipulated

Protective Order approved by the Court on May 29,2013 (Dkt. Nos. 83 & 84).




                                                    47

2026427.1
      Case 3:12-cv-01082-WWE Document 281 Filed 01/26/16 Page 48 of 80




              [REMAINDER OF PAGE INTENTIONALLY LEFT BLANKI




                                    48

2026421.1
  Case 3:12-cv-01082-WWE Document 281 Filed 01/26/16 Page 49 of 80




          rN WITNF,SS WHERF,OF, the unclersigneclhave duly executed this Agreement:



Dated:
                                       Sc.olt Torrrkirls
                                       Plaintiff


Dated:
                                       Joseph G. Husk
                                       Ptaintiff


Dated:                                 Bv-




Dated;                                 BJ,
                                       Joann Cartçr
                                       Plaintiff


Dated:
                                       Kevin Sautel
                                       Plaintiff


Dated:      dasls                                       Webber, Esq.
                                       COHFN MIISTF,IN SF,I,T,ERS &, TOI,I, Pf   .1..C.

                                       Attomeys fbr Plaintiflb


Darecr:   I fu, l,¡n,::                Gitda A             Esq.
                                       LA\M OFFICES OF GII,DA A. T{ERNANT)F,2, PLLC
                                       Attomeys forPlaintiffs


Dated:                                 Bv
                                       Richard E. Hayber, Esq
                                       HAYBFR IAW FTRM
                                       Atto rneys for Plaintiffs




                                                   48
      Case 3:12-cv-01082-WWE Document 281 Filed 01/26/16 Page 50 of 80




 Dated:                                Bv
                                       PaulKusserow
                                       President and Chief Executive Officer
                                       For Defendant, Amedisys, Inc.


 Dated:                                Rv
                                       Angelo Spinola, Esq.
                                       LITTLER MENDELSON, P.C.
                                       Attorneys for defendant, Amedisys, Inc.


 Dated:                                Bv
                                       Michael S. Mclntosh, Esq.
                                       LITTLER MENDELSON, P.C.
                                       Attorneys for defendant, Amedisys, Inc.




 Firmwide: 134068l42 14 057897 .1038




                                              50

2026427.1
Case 3:12-cv-01082-WWE Document 281 Filed 01/26/16 Page 51 of 80




                  Exhibit                  1
       Case 3:12-cv-01082-WWE Document 281 Filed 01/26/16 Page 52 of 80



 UNITBD STATES DISTRICT COURT FOR THE DIS'I'ITICT OF CONNECTICUT

                         T OMKINS. ET. AL V. AMF],I) ISYS. INC.

IF YOU WORKED FOR AMEDISYS, INC. AS A REGISTERED NURSE,
PHYSICAL THERAPIST, OCCUPATIONAL THERAPIST, OR SPEECH
LANGUAGE THERAPIST, AND WERE PAID PER VISIT, IT IS
IMPORTANT THAT YOU READ THIS NOTICE OF A PROPOSED
SETTLEMENT.
          This is a court-authorized notice. This is not a solicitation from a lawyer.
          Clinicians have sued Amedisys, Inc. alleging they were not paid corectly for all hours workecl.
          The Court has permitted this lawsuit to proceed on a collective basis.
          The Court has not decided whether Amedisys Inc. did anything wrong. However, the parties
          have proposed a settlement of this case and thc Court has authorizcd notice of that proposed
          settlement to individuals who may be eligible to participate in it. Amedisys's and/or plaintifß'
          records indicate you are entitled to receive notice and that you may be entitled to a monetary
          award under the settlement.
          Yout legal rights are affected whether you oct or       not.     Your options are explalnetl   in   this
          notice. Please read it carefully.

        YOII MIIST RETURN THE EN        TAX F'ORMS BY                                         + 60t   TO
              RECR,IVE A PAYMENT F'ROM THI S S
   I
          IMAIL + 60]   is also the deadline to object to the settlement


                                            SUMMARY
   The settlement provides a cash payment to certain current and former employees of Amedisys, lnc. who
   worked as fi-lll-time Registered Nlurses, Physica! Therapists, Occupational Therapists, or Spccch
   Language Therapists, or in a similar position, in the company's home health division, and who were
   paid on a "per-visit" basis. The amount of the payments to each settlement participant will vary.


               ARE Y ouR LEG AL RI GHTS AND OPTIONS IN               SE
                                 If you would like to receive a settlement payment if
                                 the Court approves the proposed settlement, you must
                                 complete the tax forms provided along rvith this
       Rncnrvn A SrrrlnunNr
                                 notice and return them to the Settlement Administrator,
       Payrr.tnNr
                                 as explained below in Section 14. Anyone who receives
                                 a settlement payment will also be bound by the release
                                 of claims      ined below in Section 9.
                                 If you do nothing, and do not return the tax forms
       DoNornrxc,                provided along with this notice, you will not receive a
       Do NorRpcnrvnA            settlement payment. However, you will still be bound
       Sattl¡nlpNT PAyMENT       by the release of claims explained in Section 9 if the
                                      Court approves the settlement.
            Case 3:12-cv-01082-WWE Document 281 Filed 01/26/16 Page 53 of 80




                                             You can write the Court about why you do not like the
                                             settlement.


   a   These rights and options       and the deadlines to exercise them       are explained in this notice.
                                  -                                        -
   a   The Couft in charge of this case still has to decide whether to approve the settlement. Settlement
       payments will be -ãd. if th" Court approves the settlement and after any appeals are resolved.


                                           BASIC INFORMATION

 1.     Why did I get this notice?

you have received this notice package because records indicate you worked for Amedisys, Inc. as a full-time
Registered Nurse, Physical Tirerapist, Occupational Therapist, or Speech Language Therapist, or similar
pos=ition, in the company's home hèalth division, were paid on a "per-visit" basis, and previously submitted a
written consent requesting to participate in this lawsuit as a party plaintiff.

This notice is designed to advise you of how you can participate in this settlement. The Court sent you this
notice because you huu" a right to know about a proposed settlement of this lawsuit, and about all of your
options, beforeìhe Court decides whether to approve the settlement. If the Court approves the settlement, and
aiter objections and appeals are resolved, the inãividual settlement payments provided for by the settlement will
be made.

This package explains the lawsuit, the settlement, your legal rights, what benefits are available, who is eligible
for them, and how to get them.
                                                                                                            judge
The Court in charge of the lawsuit is the United States District Court for the District of Connecticut. The
presiding over the action is Senior United State District Judge Warren W. Eginton. The case is Tomkins, et al',
v. Amedlsys. 1nc., No. 3:12-CV-01082 (WWE). The people who sued are the "plaintiffs" and the company
                                                                                                              they
sued, Amedisys, Inc., is the "defendant."


 2.        What is this lawsuit about?

plaintifß Scott Tomkins, Joseph Husk, Elizabeth Leung, Joann Carter, and Kevin Sautel worked as clinicians in
defendant Amedisys, Inc.'s hóme health division. They claim that Amedisys treated them, and other similarly
situated clinicians, as exempt from federal and state overtime requirements, but paid such individuals using a
,,per-visit" compensation model that did not comply with applicable regulations for exempt employees'
pjaintiffs furthei argue that when Amedisys treated them and other per-visit clinicians as "non-exempt" and
overtime eligible, ii required them to work without reporting all hours and/or did not use the appropriate
nrethodology for .o.puìing thcir overtime pay, thus, tlcnying thern full pay for all hours worked, including
ovcrtimc. PlnìnfiffsnliegeÁmodisysviolatedthefederalFairLaborStandarclsAct("FLSA"),29U.S.C'$201.
et seq., and the laws of the Commonwealths of Pennsylvania and Kentucky, Penn. Min. 'Wage Act ("PMWA"),
ß p;. Stat. Ann. $ 333.100, et seq.; Ky. Wage & Hour Act ("KWHA"), Ky. Rev. Stat. Ann. $ 337 '020, et seq.
Based on these allêgations, plaintiffs seek to recover unpaid \ryages, liquidated damages, pre- and post-judgment
interest, and attorneys' fees and costs.

Amedisys denies each and all of plaintiffs' allegations and expressly denies any and all charges of wrongdoing
                                                           -2-
             Case 3:12-cv-01082-WWE Document 281 Filed 01/26/16 Page 54 of 80



 or liability in this Iawsuit. To the contrary, Amedisys contends it acted in com,pliañce with applicable state and
 federal laws and paid per-visit clinicians all \¡/ages due. Accordingly, Amedisys believes plaintifß' claims for
 unpaid wages, liquidated damages, pre- and post-judgment interest, attorneys' fees, and costs are \r/ithout merit.



  3        What is a "collective actionr" what is a ,,class action ," and who is involved?

 Under the FLSA, a group of similarly situated individuals may seek to recover unpaid overtime wages and
 related damages in what is known as a "collective action." In a collective action, those plaintifß iho file
 consents, or "opt in" to the lawsuit, become plaintiffs. They are sometimes referred to as ;'opt-in plaintiffs.,,
 The individuals who initiate the lawsuit, the "named plaintifß," bring the action on behalf of themselves and
 other people they believe have similar claims who may later choose to join the action.

This type of "opt-in" collective action is different from the better-known "class action," in which no consent is
needed to join. In a traditional class action, the "named plaintifß" sue on behalf of all individuals within
                                                                                                                a
defined class. Individuals who meet the class definition, ihe ""lass members," are automatically members of
that class unless they file a written request with the Court specifically asking to be excluded,

The named plaintifß here - Scott Tomkins, Joseph Husk, Elizabeth Leung, Joann Carter, and Kevin Sautel
filed this case as both a collective action and a class action. The collectivi action under federal law includes-
fulltime Registered Nurses, Physical Therapists, Occupational Therapists, and Speech Language Therapists in
the company's home health division who were paid on a "per-visit" ùasis and alieady opt"ã in-to this óase
                                                                                                              by
filing a written consent with the Court. Additionally, the named plaintifß sought to bring class actions under
Pennsylvania and Kentucky state law on behalf of classes of such full-time, per--visit clinicians who worked in
Pennsylvania between July 25,2009 and [DATE OF PRELIMINARY APPROVAL] or in Kentucky between
Feb.ruary 28,2070 and [DATE OF PRELIMINARY APPROVAL-].

In both types of cases, if the court certifies plaintiffs' claims for class or collective treatment, one court resolves
the issues in the case for all opt-in plaintiffs and class members. Here, Senior United State District Judge
Waruen W. Eginton is in charge of this putative collective/class action. While the Court had not decidèd
whether to grant final certifìcation to plaintiffs' collective-action or class-action claims in the lawsuit, the Court
authorized notice be sent to opt-in plaintiffs and potential class members while the Court decides whether to
permit this case to proceed as a class action for purposes of settlement.


 4.     Why is there a settlement?

Litigation is risky, and neither side can predict the outcome with certainty. This lawsuit has been heavily
litigated for a significant period of time (approximately three years) and it would likely be several more years
before any final resolution could be reached through litigation.

Given these factors, the named plaintiffs/class representatives and their counsel concluded, after careful
consideration of all of the facts and circumstances, that the proposed settlement agreed to by the parties, is
fair, reasonable, and adequate, and is in the best interests of the opt-in plaintiffs and class members. This
settlement avoids the costs and inconvenience associated with the discoveiy process, as well as the costs and
risks associated with dispositive motions and trial, while providing cash Uene¡ts to opt-in plaintifß and class
members.

Amedisys expressly denies any liability or wrongdoing and contends it has complied with the applicable federal
and state laws at all times. By entering into the settlement agreement, Amedisys has not a¿miitè¿ any liability

                                                        -3-
           Case 3:12-cv-01082-WWE Document 281 Filed 01/26/16 Page 55 of 80



or wrongdoing and expressly denies the same. However, like the named plaintiffs and their counsel, Amedisys
recogniãs thè cost and deláy associated with furlher litigation, and the risk inherent in all lawsuits. As such,
Amùisys agreed to enter into a settlement to avoid the costs and disruption of ongoing litigation and to settle
the outstanding claims against it.

The Court has not decided in favor of plaintifß or Amedisys. Instead, at a mediation, the parties agreed to settle
the case instead of proceeding furthei in litigation. District Judge Eginton has, however, granted preliminary
approval to the parties' proposed settlement.

                                   WHO IS IN THE SETTLEMENT

 5.     How do I know if I am part of the settlement?

You are eligible to participate in the settlement if you were employed by Amedisys, Inc. as a full-time
Registered Ñurr", Physicaf Therapist, Occupational Therapist, or Speech Language Therapist, or similar
pos-ition, in the company's home hèalth division, were paid on a "per-visit" basis, and previously submitted a
written consent form requesting to join the FLSA collective action in Tomkins, et al., v. Amedisys,,Inc. (No.
3:12-CV-01082 (WWE¡. ff you were mailed this notice, Amedisys's and plaintiffs' attorneys' records indicate
you previously submitted such a written consent.

Additionally, individuals who did not previously submit written consents to join the FLSA collective action in
this lawsuiiare eligible to participate in the proposed settlement if they were employed by Amedisys, Inc. as a
full-time Registered Nurse, Physical Therapist, Occupational Therapist, or Speech Language Therapist, or
similar position, in the company's home health division, were paid on a "per-visit" basis, AND:

        (a.)Worked   in the Commonwealth of        Pennsylvania between Júy 25, 20A9, and [DATE OF
            pRELIMINARY APPROVALI, and were not hired for the first time after September 2013 and did
            not, as a condition of employment, agree to be subject to Amedisys's Dispute Resolution Agreement
            (which requires individuãls to submit most employment-related disputes to mandatory arbitration);

            OR

        (b.)Workedin the Commonwealth of Kentucky between February 28, 2070, and [DATE OF
            pRELIMINARY APPROVALI, and are not subject to Amedisys's Dispute Resolution Agreement
            (which requires individuals to submit most employment-related disputes to mandatory arbitration).


 6.      Are there exceptions to being included?

All opt-in plaintiffs who previously submitted written   consent forms requesting to join the FLSA collective
action in this lawsuit have agreed to be bound by any settlement and are included in the settlement unless they
seek and receive leave from the Court to be excluded from it. All other class members, who are part of the
prçp¡setl scttlenre¡t solely because they mect onc of the clefinitions above, may request cxclusion from the
settiement. Any such indiviclual who timely requests exchrsion will receive no settlement payment, but will not
be bound by the release of claims explained in Section 9 below.




                                                        -4-
            Case 3:12-cv-01082-WWE Document 281 Filed 01/26/16 Page 56 of 80



         - ....-THE PROPOSED SETTLEMENT BENEFITS _ WHAT YOU GET



 Amedisys has agreed to pay a total settlement amount of $8,000,000 (he "gross settlement amount',) in full
  settlement of the claims of all opt-in plaintiffs and class members. The gross settlement amount includes all
 payments to individual opt-in plaintifß and class members, plaintiffs' attorney's fees and litigation expenses,
 service awards to the named plaintiffs/class representatives, costs of notice of the settlement, and costs of
 administration of the settlement. The amount remaining after the payment of class counsel's attorney,s fees and
 expenses' service awards, and costs of settlement administration and notice is referred to as the "révised gross
 settlement amount." The revised gross settlernent amount, less required tax withholdings, will be distributed to
 individuals who are members of the settlement classes (1.e., opt-in plaintifß and current and former clinicians
 from Pennsylvania and Kentucky who meet he definitions in Sectión 5 above) who timely return the requirecl
 tax and claim forms explained below in Section 14. The settlement distribution process will be administerèd by
 an independent settlement administrator (the "settlement administrator") approvei by the Court.


  8.     What carr I gel frum the proposed setflement?

If the Court approves the proposed settlement and you timely submit the required tax forms, you will receive a
settlement check. All individuals who are eligible to participate in the iettlement, and iimely submit the
required forms, will receive a minimum gross payment of one-hundred dollars ($ 100.00). The exáct amount of
each individual's payment will depend on a number of factors, including, among others, the number of
                                                                                                        weeks
you worked for Amedisys during the relevant time period, the hours you ."põ.t.d working each week, the
number and type of visits you completed each week, and your effective hourly râte.

Each final settlement payment will be separated into two equal amounts: lifty percent (50%) will be allocated
to the claims asserted in the lawsuit for unpaid overtime and other *ug"-."lut.d damages, and fifty percent
(50%) will be allocated to the claims asserted in the lawsuit for liquidated damages and other reliei. The
portion allocated to claims asserted in this lawsuit fbr unpaid overtime and other wage-related damages will be
subject to all authorized or required deductions, just as if it were a regular paycheck, including, but iot limited
to: local, state and federal taxes,
                                  garnishments, child support orders, ãnd tax lêvies/liens. The-portion allocated
to claims for unpaid overtime and other claims for unpaid wages will be reported on an I.R.S. Form W-2. The
portion allocated to liquidated damages and other relief will be reported ar non-*age income and reported on an
I.R.S. Form 1099. Additionally, the portion of the total settlement fund that is approved by the Court ro pay
attorneys' fees and litigation expenses is considered to be payments made on bèhalf of the class members.
Therefore, your pro rata portion of that amount will be reportèd as income to you on an I.R.S. Form 1099. you
should consult a tax professional about tax treatment of these payments, and the availability of a tax deduction
for your pro-rated amount of attorneys, fees paid.

 9.      What am I giving up in the setflement?

The Court's orders in this lawsuit will bind all individuals participating in the settlement and you will be barred
from bringing any action against Amedisys, Inc. (including itJ offiðers, directors, shareholders, employees,
agents, principals, heirs, assigns, representatives, accountants, auditors, consultants, attorneys, fìduciàries,
employee benefits plans, insurers, and their respective successors and predecessors in interests, subsidiaries,
affiliates, parents, divisions, partners, and affiliated organizafions) that reiate to hours worked or the payment of
wages, except to the extent that any such claims may not be waived as a matter of law.

This release of claims against Amedisys, Inc. specifically includes, without limitation:
                                                        -5
           Case 3:12-cv-01082-WWE Document 281 Filed 01/26/16 Page 57 of 80


                                    : :L;I:æfi   - -


       (i) any and all claims asserted in the Litigation; (ii) any and all claims for           unpaid wages,
       minimum \ryages, overtime, late payment of wages, retaliation for complaining about wages or
       for asserting wage-related claims and/or any other claims of any kind, or any other wage-related
       or recordkeeping-related claims, damages or relief of any kind including but not limited to the
       federal FLSA, 29 U.S.C. $ 201, et seq., any and all claims under Pennsylvania state law,
       including but not limited to the Pennsylvania Minimum Wage AcT, 43 Pa. Stat. Ann' $ 330.101,
       et seq., and Pennsylvania Wage Payment Collection Law,42 Pa. Stat. Ann. $ 330.101, et seq.,
       and aìy and all claims under Kentucky state law, including but not limited to Kentucky's Wage
       and HourAct, KRS Ch.337; or any other statutes and/or regulations regulating hours of work,
       wages, the payment of wages, retaliation, wage-related or recordkeeping-related claims, the
       payment of minimum \4/ages. and/or the payment of overtime compensation; (iii) any and all
       claims under state and federal law for earned wages, overtime, and/or missed or interrupted meal
       breaks, including such claims for breach of express contract or labor agreement, implied
       contract, money had and received in assumpsit, quantum meruitlunjust enrichment, fraud,
       negligent misrepresentation, equitable estoppel, promissory estoppel, conversion, and failure to
       keép ãccurate records; (iv) any and all claims pursuant to or derived from Employee Retirement
       Incõme Security Act of 1974 (ERISA),29 U.S.C. $ 1001, et seq., to the extent such ERISA
       claims are premised on an alleged failure to credit any Settlement Class Member's account
        andlor benefits for all hours worked or all compensation paid or entitled to be paid, but excluding
       any potential ERISA claim that is not based on an alleged wage and hour violation; and (v) any
       and ãtt wage-and-hour laws or wage-related claims of any kind under other laws, including but
       not limited to any and all such claims pursuant to other federal, local, or other states' laws and/or
       regulations.

This release has no application to any claim by any Class Member for discrimination in violation of state or
federal law, or any-c1aim of any type arising on or after the date the settlement has received final aþproval from
the U.S. District Court for the District of Connecticut, or any other court taking jurisdiction over this Litigation.

This release of claims includes past and present matters, disputes, claims, demands, rights, liabilities, expenses,
damages, losses of any kind, and causes of action, whether at common law, pursuant to statute, ordinance, or
regulãtion, in equity or otherwise, and whether arising under federal, state, or other applicable law, which you
have or might have, known or unknown, asserted or unasserted, of any kind whatsoever, that relate to hours
worked or th. payment of wages, except to the extent that any such claim may not be waived as a matter of law,
and shall extend to any such claims that arose at any time up to and including the date this settlement has
received final approval from the Court, except with respect to claims of retaliation, which shall extend to any
such claims that arose at any time up to and including IDATE OF PRELIMINARY APPROVAL]'


 10.     Are my legal rights affected if I submit the required forms to receive         a           ,

yes. Timely   submitting the required forms is required to be eligible for a payment. The settlement agreement
contains a release of legal claims. If the proposed settlement agreement becomes final then you will be
rclcasing Amedisys (ancl certain related pcuple and entities) fi'orr all of the claims clcsc:ribr¡cl in Sectioll 9 above.
This means you yiill no longer be able to sue Amedisys for any of those claims, or to contintle with a legal
action, or be part of any other legal action against Amedisys for any of those claims. However, as noted in
Section I I below, the same release applies if you do not submit the required forms to receive a payment.


 11.     Are my legal righ ts affected if I donol submit the required forms to receive a payment?

yes. Even if you do not return     the required tax forms to receive a settlement payment, you       will not be able to
                                                          -6-
             Case 3:12-cv-01082-WWE Document 281 Filed 01/26/16 Page 58 of 80



 starl a legal actioq continue with a legal action, or be part of any other legal action against-A'medisys (and
 certain related people and entities) for any of the claims described in Section 9 above. Additionally, if you do
 nothing, and do not return the required tax forms, you        will   not receive any money from this proposed



     12.   Do the named plaintiff/class representatives receive any additional payment?

Yes. Plaintifß Scott Tomkins, Joseph Husk, Elizabeth Leung will ask the Court to approve payments of up to
$10,500 each for their involvement in the lawsuit for the benefit of the members of the settlémLnt classes, and
for the broader release they will provide. Plaintifß Joann Carter and Kevin Sautel will ask the Court to approve
payments of up to $6,250 each for their service as class representatives and f,or the broader release they will
provide. The Court has not yet ruled on whether it will award these amounts. The Court may deny these
requests or award less than this amount. The Court will make a determination on the reasonableness of these
requests at a later date.


 13        What happens to proposed settlement payments that are not claimed?

Subject to Court approval, to the extent any individuals who are authorized by the settlement agreement to
receive a monetary payment do not timely or properly submit the required forms, opt out the settlement, or
otherwise elect not to accept the payment of their designated share of the revised gross settlement amount, their
share will remain the property of Amedisys.


                                      HOW YOU GET A PAYMENT

 14..      How.can I,get a payment?

In order to receive a settlement payment, you must timely complete and sign the enclosed LR.S. Form W-9 and
I'R.S. Form W-4, and return those forms to the settlement administrator by U.S. Mail in the postage pre-paid
enveloped included with this notice, by fax (({<{'.*) ***-*t**), or by e-mail (IEMAIL FOR SETTLnVfnNf
ADMTNTSTRATORI).

In order to be considered timely, any completed forms returned to the settlement administrator by U.S. Mail
must be postmarked no later than [MAIL DATE + 60]. Any completed forms returned to the settlement
administrator by fax or e-mail must be received no later than [MAIL DATE + 60]. .

If you lose, misplace, or need another one of these forms, additional copies can be downloaded at the
settlement administrator's website ([SETTLEMENT ADMINISTRATOR WEBSITEì). Alternatively,
you can contact the settlement administrator by telephone at (*r'*¡ ***-**** to request a ne\¡/ copy.


 15.       When would I get my payment?

If you are eligible to participate in the settlement and timely provide the forms described in Section l4 above,
you will be sent a settlement check approximately 22 days after the effective date of the settlement. Before the
settlement is effective, however, settlement class members must be given time to object to the settlement or opt-
out, the Court must hold a hearing to consider the fairness of the settlement and grant final approval of the
settlement, and any appeals of the court's order granting final approval must be resolved. Please bé patient.




                                                      -7   -
           Case 3:12-cv-01082-WWE Document 281 Filed 01/26/16 Page 59 of 80



                         EXCLUDING YOTNSEIT FROM THE SETTLEMENT

 16.     Can     I   decide not to participate in the settlement?

Not without prior Court approval. Opt-in plaintiffs who previously submitted a written consent form requesting
to join the FLSA collective action in this lawsuit agreed to be bound by any settlement of the case.


 17.     If I participate in the settlement,    can   I sue this defendant for the same thing later?

No.  Unless you request and receive the Court's permission to exclude yourself from this lawsuit, you give up
any right to sue defendant for the claims that this settlement resolves, which are set forth in Section 9 above. If
you have a pending lawsuit asserting the claims resolved by this settlement, speâk to your lawyer in the pending
lawsuit immediately. You must exclude yourself from this settlement to continue your own lawsuit against
Amedisys regarding the claims resolved by this settlement.


 18.      If I   receive the Court's permission to exclude myself, can      I   get money from this settlement?


No

                                   THE LAWYERS REPRESENTING YOU

 19.     Do I have a lawyer in this case?

Opt-in plaintiffs and class members are represented in this case by the following attorneys and law'firms:.

     Christine E. V/ebber, Esq.                                  Gilda Adriana Hernandez, Esq.
     COHEN MILSTEIN SELLERS & TOLL, PLLC                         THE LAW OFFICES OF GILDA A.
     I100 New York Avenue, Suite 500 West                         HERNANDEZ,PLLC
     Washington, DC 20005                                        315 S. Salem Street, Suite 310
     (202) 408-4600                                              Apex, NC 27502
     www.cohenmilstein.com                                       (91e) 741-8693
     cscherman@cohenm il stein. com                              www. gi I d ahern and ezl aw. com
                                                                 snelson@ gildahernandezlaw.com

     Richard E. Hayber, Esq.
     HAYBER LAW FIRM, LLC
     221Main Street
     Hartford, CT 06106
     (860) s22-8888



Thc Court dcciclccl that thcsc lnwycrs nnd lnlv firms are qualifiod to roprosent the scttlement class members in
this case. These lawyers are called "class counsel." You do not need to hire your o\4/n lawyer because class
counsel is working on your behalf in this action. However, should you choose to retain your own lawyer, you
must do so at your own expense.




                                                             8
           Case 3:12-cv-01082-WWE Document 281 Filed 01/26/16 Page 60 of 80




 20.     How will the lawyers be paid?

Class counsel will ask the Court to approve payment of up to 33.33% of the gross settlement amount (i.e., up to
fi2,666,666.67) to them for attorneys' fees. They also will ask the Court to approve payment from the gross
settlement amount of the costs they incurred in prosecuting this lawsuit, not to exceed $l12,000. The Court has
not yet ruled on class counsel's request for an award of attorneys' fees and costs. The Court may award less
than the amounts class counsel request. The Court will make a determination on the reasonableness of class
counsel's application at a later date.

                                 OBJECTING TO THE SETTLEMENT

 21.    How do I object/tell the Court that I do not like the proposed settlement?

If you are an opt-in plaintiff or a member of the settlement      class who has not requested exclusion from the
settlement, you may object to the settlement if you do not agree with it or some part of it. To do so, you must
file with thc Court, and serve on counsel for the parties, a written statement giving the reasons why you object
to the proposed settlement. The top of any such objections to the approval of the proposed settlement should be
labeled at the top with the name and case number of this lawsuit ("Tomkins, et al. v. Amedisys 1nc., No. 3:12-cv-
1082 (WWE)") and must include: (i) your full name, address, telephone number, the dates of your employment
with Amedisys, Inc., and the Amedisys care center(s) where you worked; and (ii) each specific reason for your
objection, including any legal or evidentiary support you have for your objection.

You must mail copies of the objection to the Court, class counsel, and counsel for Amedisys (addresses below),
postmarked no later than [MAIL DATE + 60]:

                THE COURT
                Clerk of Court
                U.S. District Court for the District of Connecticut
                Brien McMahon Federal Building
                915 Lafayette Boulevar
                Bridgeport, CT 06604

                CLASS COTINSEL
                Christine E. 'Webber, Esq.
                COHEN MILSTEIN SELLERS 8.TOLL PLLC
                1100 New York Avenue, N.'W., Suite 500 East
                Washington, DC 20005

                COI.INSEL FOR AMEDISYS
                Michael S. Mclntosh, Esq.
                LITTLER MENDELSON, P.C.
                1650 Tysons Boulevard, Suite 700
                Mclean, VA22102

You may also ask the Court for permission to speak at the fairness hearing, as described below in Section 26,   if
you submit a timely objection.




                                                         9
            Case 3:12-cv-01082-WWE Document 281 Filed 01/26/16 Page 61 of 80




 22.    What happens if the Court rejects my objection?

The Court will consider any objections that are timely filed. This does not mean, however, that the Court will
necessarily take action based on any objection. lf the Court rejects your objection, you will still be bound by
the terms of the settlement and the release of claims explained in Section 9 above.

Moreover,   if you intend to object to the settlement, but still wish to receive a settlement payment, you must
timely fìle the required claim form and tax form described in Section 14 above. If the Court approves the
settlernent despite your objections, and you have not timely filed the required forms necessary to receive a
settlement payment, you will not receive a settlement payment'


 23.    What's the difference between objecting and asking the Court to exclude me?

Objecting is simply telling the Court you do not like something about the settlement. You can object only if
you stay in the sèttlement. If you ask the Court to exclude you from this lawsuit, you are telling the Court you
âo not want to be part of the lawsuit or settlement. If you are granted permission to exclude yourself from the
lawsuit, you have no basis to object to the settlement, because the case no longer affects you'

                                  THE COURT'S FAIRNESS HEARING

 24.     When and where will the Court decide whether to approve the settlement?

The Court will hold a fairness hearing on [DATE OF FAIRNESS HEARING] at [TIME], in Courtroom 3,
Brien McMahon Federal Building, United States Courthouse, gI5 Lafayette Boulevard - 2nd Floor A'nnex,
Bridgeport, Connecticut 06604. At this hearing the Court will consider whether the settlement is fair,
,.u.ðnåb1", and adequate. If there are objections to the settlement, the Court will consider them. Judge Eginton
will also listen to peòple who have asked to speak at the hearing. The hearing may be continued without further
notice to opt-in piaintiffs or other class members. After the hearing, the Court will decide whether to approve
the settlement. We do not know how long these decisions will take.


 25.     Do   I   have to come to the hearing?

No.  Class counsel will answer questions Judge Eginton may have aboutthe settlement. However, if you have
timely fìled an objection with the Court, and wish to be heard in support of your objection, you are welcome to
come at your own expense. Even if you file an objection, you do not have to come to Court to talk about it' As
long as you mailed your written objection on time, the Court will consider it. You may also pay your o\ryn
lawyer to attend the hearing, but it is not required.


 26.     May I speak at the hearing?

you may ask the Court for permission to speak at the fairness hearing. To do so, yuu rtust scrtd a lettef saying
that it is your "Notice of Iniention to Appear at Hearing on Final Approval of Class Settlement in Tomkins, et
al. v. Amedisyslnc., No. 3:12-cv-1082 (V/V/E)." Be sure to include your full name, address, telephone number,
and signatu.é. You. notice of intention to appear must be postmarked no later than [MAIL + 60], and be sent to
the Clérk of Court, and to class counsel and defense counsel, at the addresses list above in Section 21.


                                                       -10-
            Case 3:12-cv-01082-WWE Document 281 Filed 01/26/16 Page 62 of 80




                              NO RETALIATION OR DISCRIMINATION

              am a current employee, will I experience a ny retaliation or discrimination?

 No. It is against the law to retaliate or discriminate against an employee who        decides to participate in this
 settlement agreement. Amedisys will not discriminate or retaliate against you         in any *ay   because   of your
 decision to participate or not in the lawsuit or this settlement.

                                            ADDRESS CHANGES

  28.    What if my address changes?

It is your responsibility to inform the settlement administrator of your correct address. Please mail any change
of address, along with your date of birth, former address, and new address to Tomkins, et al. v. Ameãisys, Inc.
Settlement Administrator, c/o Epiq Class Action & Mass Tort Solutions, Inc., {<*******¡ß, **xl.*,t *i**, **
f #.Ì.!{.*_*+{.t Or Call (***) **t_*rrr*.
                                           IF YOU DO NOTHING

 29.     What happens if I do             at all?

You have the right to do nothing. If you do nothing, however, you will not receive any money from this
proposed settlement, but you will still be bound by the Court's orders in this lawsuit and the release of claims
explained in Section 9 above. You will not be able to start a legal action, continue with a legal action, or be part
of any other Jegal aetion against Amedisys regarding the claims resolved by this settlement.

                                   GETTING MORE INFORMATION

 30.     Are there more details about the settlement?

This notice summarizes the basic terms of the proposed settlement. Further information is available from the
settlement administrator and/or class counsel.

More details of the settlement are also contained in the stipulation of settlement and the pleadings and other
documents relating to the lawsuit that are on file with the U.S. District Court for the District of Òonnecticut.
Copies of the complete stipulation of settlement and select other filings in the lawsuit are available at
www'[agreed URL].com. All filings are available online at the Court's Electronic Case Files ("ECF") website
(https://ecf.ctd.uscourts,gov/cgi-bin/login.pl), at a cost of $.10 per page. In order to access documents via that
website, you must first sign-up for a Public Access to Court Electronic Records ("PACER") account
(http://www.pacer.gov). You may also contact settlement administrator, identified above, and they will mail or
email you a copy of the full stipulation of settlement.


 31.    How do I get more information?

You can call (***) ***-*{'*>¡ toll free; write to Tomkins, et al. v. Amedisys,lnc. SettlementAdministrator, c/o
Epiq Class Action & Mass Tort Solutions, Inc., ***>ßi'**t<{<, ****x.***1.1., +* ,ß****-*1,**; or visit the website at
ISETTLEMENT ADMINISTRATOR WEBSITEì, where you will find answers to common questions
                                                       - 11-
               Case 3:12-cv-01082-WWE Document 281 Filed 01/26/16 Page 63 of 80



about the proposed settlement and other information. Inã'd'üffffiÌü'you may contact class counsel whose contact
information is provided in Section 19.

PLEASE DO NOT CALL THE COURT, THE CLERK, OR AMEDISYS OR ITS COUNSEL ABOUT
THIS SETTLEMENT.



Firmwide: 134797 156.7 057897.1038




                                                      -12-
                  Case 3:12-cv-01082-WWE Document 281 Filed 01/26/16 Page 64 of 80



      UNITED STATES DISTRICT'COURT FOR THE DISTRICT OF CONNBCTICUT

                                          TOMKINS.              ,EZI¿fL AMEDISYS. INC.

 IF YOU WORKED FOR AMEDISYS, INC. AS A REGISTERED NURSE,
 PHYSICAL THERAPIST, OCCUPATIONAL THERAPIST, OR SPEECH
 LANGUAGE THERAPIST, AND \ryBRE PAID PER VISIT, IT IS
 IMPORTANT THAT YOU READ THIS NOTICE OF A PROPOSED
 SETTLEMENT.
             t         This is a couft-authorized notice. This is not a solicitation from a lawyer.
                       Clinicians have sued Amedisys, Inc. alleging they were not paid correctly for all hours worked.
                       The Couft has permitted this lawsuit to proceed on a class-action basis for purposes of a potential
                       settlement.
                       The Court has not decided whether Amedisys lnc. did anything wrong. However, the parties
                       have proposed a settlement of this case and the Court has authorized notice of that proposed
                       settlement to individuals who may be eligible to participate in it. Amedisys's andlor ptaintiffs'
                       records indicate you are entitled to receive notice and that you may be entitled to a monetary
                       award under the settlement.
                       Your legøl rights are øffected whether you oct or not.         Your options are explained in this
                       mntino   ¡DI-.,--    eu.. t,it Lut
                                  f c.rrc t--^.1      -^-^r.,tt,.
                                                          EJ ut,y.



                 YOU     RETURN THE      CLOSED CLATM  RM AND TAX FORMS BY
                 IMAIL 60 ì TO RECEIVE A PA
                      +                          FROM THIS SF],    NT.
             ALTERN TIVELY" YOU HA VE UNTIL IMAIL + 60ì TO SUBMIT A
             UEST          UDED            SE                                               OUDON
                 TO BE BOUND BY THE COUR 'S RULINGS IN                                  THI ACTION.
             .         IMAIL + 601 is also the deadline to object to the settlement

                                                                     SUMMARY
             The settlement provides a cash payment to ceftain current and former employees of Amedisys, Inc. who
             worked as full-time Registered Nurses, Physical Therapists, Occupational Therapists, or Speech
             Language Therapists, or in a similar position, in the company's home health division, and who were
             paid on a "per-visit" basis. The amount of the payments to each settlement participant will vary.


                  HERE ARE YOUR LEGAL RIGHTS AND OPTIONS IN THIS
                                       If you would like to receive a settlement payment if
                                       the Court approves the proposed settlement, you must
                  Rrcnrvn A SnrrlnunNr complete the claim form and tax forms provided
                                       along with this notice and return them to the Settlement
                  PryunNr
                                       Adrninistrator, as explained below in Section 14.
                                       Anyone who receives a settlement payment will also be
                                       bound by the release of claims explained below in

2021 162 2
               Case 3:12-cv-01082-WWE Document 281 Filed 01/26/16 Page 65 of 80



                                                 Section 9.
                                                 If you do nothing,   and do not return the forms provided
                                                 along with this notice, you rvill not receive a settlement
               Do NoturNc,                       payment. However, as explained in Sections 11 and 30
               DoNorRncntvnA                     below, unless you request to be excluded fi'om the
               SnrrlniltnNT   PAYMENT            settlernent you will still be bound by the release of
                                                 claims explained in Section 9 if the Court approves the
                                                 settlement.
                                                 Unless you request to be excluded from the settlement,
               On¡ncr                            as explained in Section 17, you can write the Court
                                                 about why you do not like the settlement
                                                 You may ask to be excluded from the settlement.
                                                 Sections l6 through l9 below explain this option.
                                                 Individuals who request exclusion will not be eligible to
                                                 receive a settlement payment and will not be bound by
                                                 the release of claims explained in Section 9 if the Court
                                                 approves the settlement.


    a   These rights and options          and the deadlines to exercise them       are explained in this notice.
                                    -                                          -
    a       The Court in charge of this case still has to decide whether to approve the settlement. Settlement
            payments will be made if the Court approves the settlement and after any appeals are resolved.


                                              BASIC INFORMATION

 1.          Why did I get this notice?

You have received this notice package because records indicate you worked for Amedisys, Inc. as a full-time
Registered Nurse, Physical Therapist, Occupational Therapist, or Speech Language Therapist, or similar
position, in the company's home health division, were paid on a "per-visit" basis, AND:

            (a.)Worked in the Commonwealth of Pennsylvania between July 25, 2009, and [DATE OF
                pRELIMINARY APPROVALI, and were not hired for the first time after September 2013 and did
                not, as a condition of employment, agree to be subject to Amedisys's Dispute Resolution Agreement
                (which requires individuals to submit most employment-related disputes to mandatory arbitration);

               OR

            (b.)Worked in the Commonwealth of Kentucky between February 28, 2010, and IDATE OF
                pRELIMINARY APPROVALI, and are not subject to Amedisys's Disputc Rcsulutiolt Agreetnetrt
                (which requires inclivicluals to submit most employment-related disputes to mandatory arbitration).

This notice is designed to advise you of how yr-ru r.:an partiuipatc iu this settlenlettt alid how to opt out of thc
settlement if you wish to be excluded. The Court sent you this notice because you have a right to know about a
proposed settlement of this lawsuit, and about all of your options, before the Couft decides whetherto approve
ihe settlement. If the Court approves the settlement, and after objections and appeals are resolved, the
individual settlement payments provided for by the settlement will be made.

                                                               2
2027162 2
            Case 3:12-cv-01082-WWE Document 281 Filed 01/26/16 Page 66 of 80



 This package explains the lawsuit, the settlement;,yöirr legal rights, what benefits are available, who is eligible
 for them, and how to get them.


 presiding over the action is Senior United State District Judge Warren W. Eginton. The case is Tomkins, et al.,
 v. Amedisys,lnc., No. 3:12-CV-01082 (WWE). The people who sued are the "plaintiffs" and the company they
 sued, Amedisys, Inc., is the "defendant."


 2.      What is this lawsuit about?

Plaintiffs Scott Tomkins, Joseph Husk, Elizabeth Leung, Joann Carter, and Kevin Sautel worked as clinicians in
defendant Amedisys, Inc.'s home health division. They claim that Amedisys treated them, and other similarly
situated clinicians, as exempt from federal and state overtime requirements, but paid such individuals using â
"per-visit" compensation model that did not comply with applicable regulations for exempt employeis.
Plaintiffs further argue that when Amedisys treated them and other per-visit clinicians as "non-exempt,, and
overtime eligible, it required them to work without reporting all hours and/or did not use the appiopriate
methodology for computing their overtime pay, thus, denving them full pay for all hours worked, inctuOing
overtime. Plaintifß allege Amedisys violated the federal Fair Labor Standards Act ("FLSA"), 29 U.S.C. 201,
                                                                                                           $
et seq., and the laws of the Commonwealths of Pennsylvania and Kentucky, Penn. Min. Wage Act (,,pMWA,,),
43 Pa. Stat. Ann. $ 333.100, et seq.; Ky. V/age & Hour Act ("KWHA"), Ky. Rev. Stat. Ann. g 337,020, et seq.
Based on these allegations, plaintifß seek to recover unpaid \4/ages, liquidated damages, pre- and post-judgment
interest, and attorneys' fees and costs.

Amedisys denies each and all of plaintifß' allegations and expressly denies any and all charges of wrongdoing
or liability in this lawsuit. To the contrary, Amedisys contends it acted in compliance with applicable state and
federal laws and paid per-visit clinicians all wages. due. Accordingly, Amedisys believes plãintiffs' claims for
unpaid wages, liquidated damages, pre- and post-judgment interest, attorneys' fees, and costs are without merit.
Amedisys also denies that the asserted claims are appropriate for class or collective action treatment.


 3.     What is a 6'class actionr" what is a 6.collective actio n," and who is involved?

Under the FLSA, a group of similarly situated individuals may seek to recover unpaid overtime wages and
related damages in what is known as a "collective action." In a collective action, those plaintiffs who file
consents, or "opt in" to the lawsuit, become plaintiffs. They are sometimes referred to as "opt-in plaintiffs.,,
The individuals who initiate the lawsuit, the "named plaintiffs," bring the action on behalf of themielves and
other people they believe have similar claims who may later choose to join the action.

This type of "opt-in" collective action is different from the better-known "class action," in which no consent is
needed to join. In a traditional class action, the "named plaintiffs" sue on behalf of all individuals within a
defined class. Individuals who meet the class definition, the "class members," are automatically members of
that class unless they file a written request with the Court specifically asking to be excluded.


                           -
The named plaintiffs here Scott Tomkins, Joseph Husk, Elizabeth Leung, Joann Carter, and Kevin Sautel-
filed this case as both a collective action and a class action. The collective action under federal law includes
full-time Registered Nurses, Physical Therapists, Occupational Therapists, and Speech Language Therapists in
the company's home health division who were paid on a "per-visit" basis and already opted in to this óase by
filing a written consent with the Court. Additionally, the named plaintiffs sought to bring class actions under
Pennsylvania and Kentucky state law on behalf of classes of such full-time, per-visit clinicians who worked in
Pennsylvania between July 25,2009 and IDATE OF PRELIMINARY APPROVAL] or in Kentucky between
                                                       -3-
202'^622
              Case 3:12-cv-01082-WWE Document 281 Filed 01/26/16 Page 67 of 80



February 28,2010 and [DATE OF          PRELIMINARY APPROVALI'

In both types of cases, if the court certifies plaintiffs' claims for class or collective treatment, one courl resolves
the issues in the case for all opt-in plaintiffs and class members. Here, Senior United State District Judge
Vy'arren 'W. Eginton is in charge of this putative collective/class action. While the Court had not decided
whether to grant final certification to plaintiffs' collective-action or class-action claims in the lawsuit, the Court
authorized notice be sent to opt-in plaintiffs and potential class members while the Court decides whether to
permit this case to proceed as a class action for purposes of settlement.


 4.         Why is there a settlement?

Litigation is risky, and neither side can predict the outcome with certainty. This lawsuit has bccn heavily
litigâed for a significant period of time (approximately three years) and it would likely be several more years
before any final resolution could be reached through litigation.

Given these factors, the named plaintiffs/class representatives and their counsel concluded, after careful
consideration of all of the facts and circumstances, that the proposed settlement agreed to by the parties, is
fair, reasonable, and adequate, and is in the best interests of the opt-in plaintiffs and class members. This
settlement avoids the costi and inconvenience associated with the discovery process, as well as the costs and
risks associated with dispositive motions and trial, while providing cash benefits to opt-in plaintiffs and class
members.

Amedisys expressly denies any liability or wrongdoing and contends it has complied with the applicable federal
and state laws at all times. By entering into the settlement agreement, Amedisys has not admitted any liability
or wrongdoing and expressly denies the same. However, like the named plaintiffs and their counsel, Amedisys
.recogniÃs thð cost and delay associated with further litigatign, and the risk inherent in all lawsuits. As such,
Ame--disys agreed to enter into a settlement to avoid the costs and disruption of ongoing litigation and to settle
the outstanding claims against it.

The Court has not decided in favor of plaintiffs or Amedisys. Instead, at a mediation, the parties agreed to settle
the case instead of proceeding further in litigation. District Judge Eginton has, however, granted preliminary
approval to the parties' proposed settlement.

                                      WHO IS IN THE SETTLEMENT

 5.         How do I know if I am part of the settlement?

You are eligible to participate in the settlement if you were employed by Amedisys, Inc. as a full-time
Registered Ñurr", Pñysicaf Therapist, Occupational Therapist, or Speech Language Therapist, or similar
position, in the company's home health division, were paid on a "per-visit" basis, AND:

            (a.)Workecl   in thc Comlnonwealth of Pennsylvania       bctwccn July 25, 2009, ancl IDATE OF
               pREIJMINARY APPROYALI,            and were not hired  for the first time after September 2013 and did
               not, as a condition of employment, agree to be subject to Amedisys's Dispute Resolution Agreement
               (which requires individuals to submit most employment-related disputes to mandatory arbitration);

               OR

            (b.)Worked    in the   Commonwealth   of   Kentucky between February 28, 2010, and [DATE OF
                                                          -4-
2027t62.2
             Case 3:12-cv-01082-WWE Document 281 Filed 01/26/16 Page 68 of 80



              PRELIMINARY APPROVALI,            and are not subject to Amedisys's Dispute Resolution Agreement
              (which requires individuals to submit most employment-related disputes to mandatory arbitration).



 Additionally, opt-in plaintiffs who previously submitted a written consent form requesting to join the FLSA
 collective action in Tomkins, et al., v. Amedisys, Írc. (No. 3:12-CV-01082 (WWE) are entitled tô participate in
 this proposed settlement.


  6.       Are there exceptions to being included?

Class members who are part of the proposed settlement because they meet one of the definitions above for
Kentucky or Pennsylvania state law claims, who validly request exclusion, as explained in Section l7 below,
will not be included in the settlement, and will receive no settlement payment, but will not be bound by the
release of claims explained in Section 9 below.


                THE PROPOSED SETTLEMENT BENEFITS _ WHAT YOU GET

  7        What does the proposed settlement provide?

Amedisys has agreed to pay a total settlement amount of $8,000,000 (the ,,gross settlement amount,,) in fi¡ll
settlement of the claims of all opt-in plaintiffs and class members. The gross settlement amount includes all
payments to individual optin plaintiffs and class members, plaintifß' attorney's fees and litigation expenses,
service awards to the named plaintiffs/class representatives, costs of notice of the settlement, and còsts of
administration of the settlement. The amount remaining after the payment of class counsel's attorney's fees and
expenses, service awards, and costs of settlement administiation and notice is referred to as the "revised gross
settlement amount." The revised gross settlement amount, less required tax withholdings, will be distributed to
individuals who are members of the settlement classes (i.e., opt-in plaintiffs and current and former clinicians
from Pennsylvania and Kentucky who meet he defrnitions in Section 5 above) who timely return the required
tax and claim forms explained below in Section 14. The settlement distribution process will be administerèd by
an independent settlement administrator (the "settlement administrator") approved by the Court.


 8.        What can I get from the proposed settlement?

If the Court approves the proposed settlement and you timely submit the required claim form and tax forms, you
will  receive a settlement check. All individuals who are eligible to participate in the settlement, and timely
submit the required forms, will receive a minimum gross payment of one-hundred dollars (S100.00). The exact
amount of each individual opt-in plaintifls payment will depend on a number of factors, including, among
others, the number of weeks worked for Amedisys during the relevant time period, the hours reported working
each week, the number and type of visits completed each week, and their effective hourly raté. The average
claim for overtime due per workweek will be calculated for each position (i.e. RN, Physical Therapist) for
Kentucky and for Pennsylvania based upon the opt-in plaintiffs data that has been provided. The aveiage per
week overtime claim will then be used to calculate settlement awards for each Kentucky or Pennsylvania class
member who did not opt-in to the FLSA action, and whose individual hours and pay rates were thus not made
available.

Each final settlement payment  will be separated into two equal amounts: fifty percent (50%) will be allocated
to the claims asserted in the lawsuit for unpaid overtime and other wage-related damages, and fifty percent

20271622
               Case 3:12-cv-01082-WWE Document 281 Filed 01/26/16 Page 69 of 80



(50"Pr),.will be allocated to the claims asserted in the lawsuit for liquidated dânÌageS*and other relief. The
portión allocated to claims asserted in this lawsuit for unpaid overtime and other wage-related damages will be
subject to all authorized or required deductions, just as if it were a regular paycheck, including, but not limited
to: local, state and federal taxås, garnishments, child support orders, and tax levies/liens. The portion allocated
to claims for unpaid overtime and other claims for unpaid wages will be repofted on an I.R.S' Form W-2. The
portion allocateå to liquidated damages and other relief will be reported as non-wage income and reported on an
I.R.S. Form 1099. Additionally, the portion of the total settlement fund that is approved by the Court to pay
attorneys, fees and litigation .*p"nré. is considered to be payments made on behalf of the class members.
Therefore, your pro rata-portion ôf tnut amount will be reported as income to you on an I.R'S. Form 1099. You
should consult a tax professional about tax treatment of these payments, and the availability of a tax deduction
for your pro-rated amount of attorneys' fees paid.

 g.         What am I giving if I participate in the settlement?

Unless you exclude yourself from the settlement by IMAIL DATE + 60], 2015 using the procedure explained
below in Section l7,the Court's orders will bind you and you will be barred from bringing any action against
Amedisys, Inc. (including its officers, directors, shareholders, employees, agents, principals, heirs, assigns,
representatives, accountants, auditors, consultants, attorneys, fìduciaries, employee benefits plans, insurers' and
thàir respective successors and predecessors in interests, subsidiaries, affiliates, parents, divisions, partners, and
affiliateå organizations) that relàte to hours worked or the payment of wages, except to the extent that any such
claims may not be waived as a matter of law.

This release of claims against Amedisys, Inc. specifically includes, without limitation:

            (i) any and all claims asserted in the Litigation; (ii) any and all claims for unpaid \ryages,
            *ini1nu- wages, overtime, late payment of wages, retaliol.r.sn for- complaining about wages or
            for asserting ñage-related claimJandlor any other claims of any kind, or any other wage-related
            or recordkeipin!-related claims, damages or relief of any kind including but not limited to the
            federal FLSA, ãq U.S.C. $ 201, et seq., any and all claims under Pennsylvania state law,
            including but not limited to the Pennsylvania Minimum Wage Ac! 43 Pa. Stat. Ann. $ 330.101,
            et seq., ãnd Pennsylvania Wage Payment Collection Law,42 Pa. Stat. Ann. $ 330.101, et seq',
             ana iny and all clãims under Kentucky state law, including but not limited to Kentucky's Wage
            and Hour Act, KRS Ch.337; or any other statutes and/or regulations regulating hours of work,
            \'/ages, the payment of wages, retaliation, wage-related or recordkeeping-related claims, th9
            payment of minimum wages, and/or the payment of overtime compensation; (iii) any and all
            òlui.. under state and federal law for earned wages, overtime, and/or missed or interrupted meal
            breaks, including such claims for breach of express contract or labor agreement, implied
            contract,¡¡on"y hud and received in assumpsit, quantum meruiilunjust enrichment, fraud,
            negligent misrepresentation, equitable estoppel, promissory estoppel, conversion, and failure to
            keep ãccurate récords; (iv) any and all claims pursuant to or derived from Employee Retirement
             Incõme Security Act of 1974 (ERISA),29 U.S.C. $ 1001 , et seq,, to the extent such ERISA
             claims are premised on an alleged failure to credit any Settlement Class Member's account
             and/or beneiìts for all hours workid or all compensation paicl or entitlecl to be paid, but excluding
             ary potential ERISA claim thnt is not hnsed on an olleged wage and hour violation; ancl (v) any
             unâ àtt wage-and-hour laws or wage-related claims of any kind under other laws, including but
             not limited to any and all such claims pursuant to other federal, local, or other states' laws and/or
            regulations.

 This release has no application to any claim by any Class Member for discrimination in violation of state or
 federal law, or any ctáim of any type àrising on or after the date the settlement has received final approval from
                                                              6-
 20271622
              Case 3:12-cv-01082-WWE Document 281 Filed 01/26/16 Page 70 of 80



 the U.S. District Court for the District of Connecticut, or any''óThei.ð-oüit taking jurisdiction over this Litigation.

 This release of claims includes past and present matters, di sputes, claims, demands, rights, liabilities, expenses,

 regu laf oh, ln eq u ity or otherwi SE and whether anslng under federal, state, or other appl icab le law
                                                                                                             which you
 ha VC or rnight have, known or unknown, asserted or unasserted, of any kind w hatsoever that
                                                                                                        relate to hours
 worked or the p ayment of \ryages, except to the extent that any such claim may not be w alved AS a m atter of law
 and shall extend to any such c laims that arose at any time up to and inclu d lng the date th IS settlement
                                                                                                                    has
 recel ved final approval from the Court, except with respect to claims of retali ation, which shal extend
                                                                                                                 to any
 such claims that arose at any time u p to and including
                                                         IDATE OF                         APPRO VAL

  10.      Are my legal rights affected if I submit the required forms to receive a payment?

 Yes. Timely submitting the required claim form and tax forms is required to be eligible for a payment. The
 settlement agreement contains a release of legal claims. If you do nof exclude yourself from thé settlement
                                                                                                                 by
  [MAIL DATE + 60], using the procedure explained below in Section l7', and the proposed settlement
 agreement becomes final, then you will be releasing Amedisys (and certain related people ånd entities)
                                                                                                            from all
 of the claims described in Section 9 above. This means youwill no longer be able to sue Amedisy, fo. any of
 those claims, or to continue with a legal action, or be part of any other legal action against Amedisys
                                                                                                         for any of
 those claims. However, as noted in Section I 1 below, the same release ap=plies if you do not submif the
                                                                                                           required
 forms to receive a payment.


  11.      Are my legal rights affected if l do zaf submit the required forms to receive a payment?

Yes, unless you exclude yourself from the settlement by
                                                             [MAIL DATE + 60], using the procedure explained
below in Section 17. Unless you timely exclude yourself from the settlemenî,.u.n if yôu do not return the
required claim form and tax forms to receive a settlement payment, you will not be able io start a legal
                                                                                                          action,
continue with a legal action, or be part of any other legal action agàinst Amedisys (and certain relaie¿ people
and entities) for any of the claims described in Section 9 above. À¿ditionalty, if you do nothing,
                                                                                                     and ào not
return the required claim for or tax forms, you will not receive any money fromthis proposed settlernent.


  12.      Do the named plaintiff/class representatives receive any additional payment?

Yes. Plaintifß Scott Tomkins, Joseph Husk, Elizabeth Leung will ask the Court to approve payments of up to
$10,500 each for their involvement in the lawsuit for the benéfit of the members of thé settlernent classes, and
for the broader release they will provide. Plaintifß Joann Carter and Kevin Sautel will ask the Court to approve
payments of up to $6,250 each for their service as class representatives and for the broader release
                                                                                                     ttrey will
provide. The Court has not yet ruled on whether it will award these amounts. The Court may deny thãse
requests or award less than this amount. The Court will make a determination on the reasonableness
                                                                                                        of these
requests at a later date.


 13.       What happens to proposed settlement payments that are not claimed?

Subject to Court approval, to the extent any individuals who are authorized by the settlement agreement
                                                                                                                to
receive a monetary payment do not timely or properly submit the required claim andlor tax forms,'opt out
                                                                                                              the
settlement using the procedures explained in Section l7 below, or otherwise elect not to accept the páyment
                                                                                                               of
their designated share of the revised gross settlement amount, their share will remain the property of Àmedisys.

                                                          7
20271622
              Case 3:12-cv-01082-WWE Document 281 Filed 01/26/16 Page 71 of 80



                                       HOW YOU GET A PAYMENT

 14.        How can I get a payment?

In order to receive a settlement payment, you must timely complete and sign the enclosed claim form, I'R.S'
Form W-9, and I.R.S. Form W-4, and return those forms to the settlement administrator by U.S. Mail in the
postage pre-paid enveloped included with this notice, by fax ((***) *{'*-+**x<), or by e-mail ([EMAIL FOR
SETTLEMENT ADMINISTRATORI ).

In order to be considered timely, any completed forms returned to the settlement administrator by U.S' Mail
must be postmarked no later than [MAIL DATE + 60]. Any completed forms returned to the settlement
administrator by fax or e-mail must be received no later than [MAIL DATE-+ 60]. .

If you lose, misplace, or need another   one of these forms, additional copies can be downloaded at the
settlement administrator's website ([SETTLEMENT ADMINISTRATOR WEBSITE]). Alternatively,
you can contact the settlement administrator by telephone at (***) **t¡-**{<*'to request a ne\N copy.


 15.        When would I get my payment?

If you are eligible to participate in the settlement and timely provide the forms described in Section 14 above,
you will be sent a settlement check approximately 22 days after the effective date of the settlement. Before the
settlement is effective, however, settlement class members must be given time to object to the settlement or opt-
out, the Court must hold a hearing to consider the fairness of the settlement and grant final approval of the
settlement, and any appeals of the court's order granting final approval must be resolved. Please be patient.

                       EXCLUDING YOURSELF FROM THE SETTLEMENT

 16.        Can I decide not to participate in the settlement?

Yes. Settlement class members who are not named plaintifß or opt-in plaintiffs, and who do not want to be part
of the settlement or who want to keep the right to sue or continue to sue defendant in another action about the
issues in this lawsuit or any other claim that relates to hours worked or the payment of wages, may request
exclusion from the settlement. This is sometimes referred to as "opting out" of the settlement class.

 17.        How do I opt out of the settlement?

If you wish to exclude yourself from the settlement (i.e.,to "opt out"), you must submit    a written statement to
the settlement administrator expressly stating that you wish to be excluded from the settlement. Such requests
for exclusion should state at the top of the letter "Request for Exclusion from Settlement in Tomkins, et al. v'
Amedisys 1nc., No. 3:12-cv-1082 (V/WE)." Also be sure to include your name, address, telephone number, and
signatnre. All written rcqucsts for exclusion must be sent by f ilst-Cllass tI.S. Mail, postmarkecl no latcr than
[M^IL DATE + ó0], ru:
                              Tomkins, et al. v. Amedisys,lnc. Settlement Administrator
                                 c/o Epiq Class   Actioi*Yliitort     Solutions, Inc.

                                            *x.**{<*t*   * *, **   d<d.   t {.{<-* **t(

                                                            -8
2027162.2
                  Case 3:12-cv-01082-WWE Document 281 Filed 01/26/16 Page 72 of 80




 You cannot exclude yourself by phone or by e-mail. Requests for exclusion that do not include all required
 information, or that are not timely postmarked, will be deemed null, void, and ineffective.

 If you timely           ask to be excluded from the settlement, you     will not receive any settlement   payment, and you
 cannot object to the settlement. You also will not be legally bound by anything that happens in this lawsuit with
 respect to the settled claims. You may be able to sue (or continue to sue) Amedisys concerning the claims that
 this settlement resolves.


   18.       If I   do not exclude myself, can    I sue this defendant for the same thin g later?

 No'   Unless you exclude yourself, you give up any right to sue defendant for the claims that this settlement
 resolves, which are set forth in Section 9 above. If you have a pending lawsuit asserting the claims resolved by
 this settlement, speak to your lawyer in the pending lawsuit immediately. You must exclude yourself from this
 settlement to continue your own lawsuit against Amedisys regarding the claims resolved by this settlement.


  19         If I       exclude myself from the settlement, can   I   get money from this sctdcmcnt?

No.

                                       THE LAWYERS REPRESENTING YOU

  20.        Do     I   have a lawyer in this case?

Opt-in plaintiffs and class members who do not request exclusion from the settlement are represented in this
case by thefollowing attorneys and law firms:

     Christine E. Webber, Esq.                                        Gilda Adriana Hernandez, Esq.
     COHEN MILSTEIN SELLERS &TOLL, PLLC                               THE LAW OFFICES OF GILDA A
     I100 New York Avenue, Suite 500 West                              HERNANDEZ,PLLC
     Washington, DC 20005                                             315 S. Salem Street, Suite 310
     (202) 408-4600                                                   Apex, NC27502
     www.cohenmil stein.com                                           (919) 74t-8693
     cscherman@cohenm i lstein. com                                   www. gi ldahernandezlaw.com
                                                                      snel son@gildahernandezlaw.com

     Richard E. Hayber, Esq.
     HAYBER LAW FIRM, LLC
     221Main Street
     Hartford, CT 06106
     (860) 522-8888

The Court decided that these lawyers and law fìrms are qualified to represent the settlement class members in
this case. These lawyers are called "class counsel." You do not need to hire your own lawyer because class
counsel is working on your behalf in this action. However, should you choose to retain your own lawyer, you
must do so at your o\¡/n expense.



                                                               9-
2027 t62.2
              Case 3:12-cv-01082-WWE Document 281 Filed 01/26/16 Page 73 of 80



2l          How will the lawyers be paid?

Class counsel    will   ask the Court to approve payment of up to 33.33% of the gross settlement amount (i'e., up to
$2,666,666.67) to them for attorneys' fees. They also will ask the Court to approve payment from the gross
settlement amount of the costs they incurred in prosecuting this lawsuit, not to exceed $l12,000' The Court has
not yet ruled on class counsel's request for an award of attorneys' fees and costs. The Court may award less
than the amounts class counsel request. The Court will make a determination on the reasonableness of class
counsel's application at a later date.

                                    OBJECTING TO THE SETTLEMENT

 )t         How do I object/tell the Court that I do not like the proposed settlement?

If you  are an opt-in plaintiff or a member of the settlement class and have not requested exclusion from the
settlement, you may object to the settlement if you do not agree with it or some part of it. To do so, you must
file with the Court, and serve on counsel for the parties, a written statement giving the reasons why you object
to the proposed settlement. The top of any such objections to the approval of the proposed settlement should be
labeled at the top with the name and case number of this lawsuit ("Tomkins, et al. v. Amedisys 1nc., No. 3:12-cv-
 l0S2 (WWE)") and must include: (i) your full name, address, telephone number, the dates of your employment
with Amedisys, Inc., and the Amedisys care center(s) where you worked; and (ii) each specific reason for your
objection, including any legal or evidentiary support you have for your objection.

You must mail copies of the objection to the Court, class counsel, and counsel for Amedisys (addresses below),
postmarked no later than [MAIL DATE + 60]:

                  THE COURT
                  Clerk of Court
                  U.S. District Court for the District of Connecticut
                  Brien McMahon Federal Building
                  9 7 5 Lafay ette B oulevard
                  Bridgeport, CT 06604

                  CLASS COUNSEL
                  Christine E. Webber, Esq.
                  COHEN MILSTEIN SELLERS & TOLL PLLC
                  1100 New York Avenue, N.W., Suite 500 East
                  Washington, DC 20005

                  COUNSEL FOR AMEDISYS
                  Michael S. Mclntosh, Esq.
                  LITTLER MENDELSON, P.C.
                  1650 Tysons Roulevard, Suite 700
                  Mclean, VA22102

You may also ask the Court for permission to speak at the fairness hearing, as described below in Section 27,      if
you submit a timely objection.




                                                           -10-
2027162.2
               Case 3:12-cv-01082-WWE Document 281 Filed 01/26/16 Page 74 of 80




  23      What happens if the Court rejects my objection?

       Court   will
                consider any objections that are timely fìled. This does not mean, however, that the Court will
necessarily take action based on any objection. If the Court rejects your objection, you will still be bound by
the terms of the settlement and the release of claims explained in Section 9 above.

Moreover, if you intend to object to the settlement, but still wish to receive a settlement payment, you must
timely file the required claim form and tax form described in Section 14 above. If the Court approves the
settlement despite your objections, and you have not timely filed the required forms necessary to receive a
settlement payment, you will not receive a settlement payment.


 24       What's the difference between objecting and exclu ding myself?

Objecting is simply telling the Court you do not like something about the settlement. You can object only if
you stay in the settlement. If you exclude yourself from this lawsuit, you are telling the Court you do not want
to be part of the lawsuit or settlement. If you request to be excluded from the lawsuit, you havc no basis to
object to the settlement, because the case no longer affects you.

                                THE COURT'S FAIRNESS HEARING

 25       When and where will the Court decide whether to a pprove the settlement?

The Court will hold a fairness hearing on [DATE OF FAIRi\ESS HEARING] at [TIME], in Courtroom 3,
Brien McMahon Federal Building, United States Courthouse , 91.5 Lafayette Boulev ard - Znd Floor Annex,
Bridgeport, Connecticut 06604. At this hearing the Court will consider whether the settlement is fair,
reasonable, and adequate. If there are objections to the settlement, the Court will consider them. Judge Eginton
will also listen to people who have asked to speak at the hearing. The hearing may be continued withóut further
notice to opt-in plaintifß or other class members. After the hearing, the Court will decide whether to approve
the settlement. We do not know how long these decisions will take.


 26.      Do I have to come to the hearing?

No'  Class counsel will answer questions Judge Eginton may have about the settlement. However, if you have
timely filed an objection with the Court, and wish to be heard in support of your objection, you are welcome to
come at your own expense. Even if you file an objection, you do not have to come to Court to talk about it. As
long as you mailed your written objection on time, the Court will consider it. You may also pay your oliln
lawyer to attend the hearing, but it is not required.


 27.     May I speak at the hearing?

You may ask the Court for permission to speak at the fairness hearing. To do so, you must send a letter saying
that it is your "Notice of Intention to Appear at Hearing on Final Approval of Class Settlement in Tomkins, et
al. v. Amedisys lzic., No. 3:12-cv-1082 (WWE)." Be sure to include your full name, address, telephone number,
and signature. Your notice of intention to appear must be postmarked no later than
                                                                                     [MAIL + 60ì; and be sent to
the Clerk of Couft, and to class counsel and defense counsel, at the addresses list above in Section 22. you
cannot speak at the hearing if you submitted a written request for exclusion from the settlement (i.e., if you have

                                                      - tt   -
202i162,
             Case 3:12-cv-01082-WWE Document 281 Filed 01/26/16 Page 75 of 80



"opted out").

                             NO RETALIATION OR DISCRIMINATION

 28. If I am a current employee,          will I experience any retaliation or discrimination?

No. It is against the law to retaliate or discriminate against an employee who decides to participate in this
settlement agreement. Amedisys will not discriminate or retaliate against you in any way because of your
decision to participate or not in the lawsuit or this settlement.

                                             A.DDRESS CHANGES

 29,       What if my address changes?

It is your responsibility to inform the settlement administrator of your correct address. Please mail any change
of address, along with your date of birth, former address, and new address to Tomkins, et al. v. Amedisys, Inc.
Settlement Administrator, c/o Epiq Class Action & Mass Tort Solutions, Inc., ********{',
                                                                                                 *****+t***, *{'
***+*_**** or call (*'1.{.) **{._**,1.*.
                                           IF YOU DO NOTHING

 30.       What happens if I do nothing at all?

You have the right to do nothing. If you do nothing, however, you will not receive any money from this
proposed settlement. In addition, unless you timely return a written request for exclusion, you will be bound by
the Court's orders in this lawsuil and the release of claims explained in Section 9 above. You will not be able to
start a legal action, continue with a legal action, or be part of any other legal action against Amedisys regarding
the claims resolved by this settlement.

                                   GETTING MORE INFORMATION

 31.       Are there more details about the settlement?

This notice summarizes the basic terms of the proposed settlement. Further information is available from the
settlement administrator and/or class counsel.

More details of the settlement are also contained in the stipulation of settlement and the pleadings and other
documents relating to the lawsuit that are on fìle with the U.S. District Court for the District of Connecticut.
Copies of the complete stipulation of settlement and select other filings in the lawsuit are available at
www.[agreed URL].com. All filings are available online at the Court's Electronic Case Files ("ECF") website
(https://ecf.ctd.uscourts.gov/cgi-bin/login.pl),atacostof$.10perpage. Inordertoaccessdocumentsviathat
website, you must first sign-up for a Public Access to Court Electronic Records ("PACER") account
(http://www.pncer.gov). You may also contoct sçttlçmont administrator, identified above, and they will mail or
email you a copy of the full stipulation of settlement.




                                                         -12-
20271622
                 Case 3:12-cv-01082-WWE Document 281 Filed 01/26/16 Page 76 of 80




  32.       How do I get more information?

   ou can
 Epiq Class Acti

 about the proposed settlement and other information. In addition, you may contact class counsel whose contact
 information is provided in Section 20.

PLEASE DO NOT CALL THE COURT, THE CLERK, OR AMEDISYS OR rTS COUNSEL ABOUT
THIS SETTLEMENT.



Firmwide:1 3473 I 908.3 057897.   I   038




                                                   -   13 -
2027162.2
Case 3:12-cv-01082-WWE Document 281 Filed 01/26/16 Page 77 of 80




                  Exhibit                  2
                  Case 3:12-cv-01082-WWE Document 281 Filed 01/26/16 Page 78 of 80

 Tomkins, et al. v. Amedisys, 1¿c Settlernent Administlator                                                            Tontkins, et al.       v   Antedisys Inc
 c/o Epiq Class Action & lr4ass Tort Solutions, lnc.                                                                   Case No.   3 :   ev-l 082 (WWE)
                                                                                                                                        12.
                                                                                            United States District Coutt for the District of Connecticut
 ********t(*    r.,¡   *****_*,t**



                                                                                    [Class Member Narne]
                                                                                    [Mailing Address l]
                                                                                    [Mailing Address 2]
                                                                                    [City, State ZIP]


                                                                   CLAIM FORM
In order to receive a settlement payment, you must submit this Claim Form, an I.R.S. Form W-4, and an I.R.S.
Form W-9 to the Settlement Administrator. To be considered timely, these forms must be postmarked by no later
than [MAIL DATE + 60] if returned by U.S. Mail, or received by [MAIL DATE + 601 if returned by fax
or e-mail.

                                                       SEND ALL DOCUMENTS TO:

                                      Tomkins, et al. v. Amedisys,llc. Settlement Administrator
                                         c/o Epiq Class Action & Mass Tort Solutions, fnc.
                                                                        ¿¿¿¿s¿ú¿¿
                                                        ****rrjr**rrrk, ** rr*t **_****

                                                      FaX: (***) ***-t*ktrtr
                                     E-mail: IEMAIL FOR SETTLEMENT ADMINISTRATOR]


                                                        Name and Address Updates:
                                         If your neme or address is different from what is printed     above,
                                                   please provide updated infornation belotu:



               First Name                                       MI                    La,st Name



               Mailing Address                                                        Apt/Unit


               City                                             State                 ZIP Code



By completing and signing this Claim Form, I verify that I meet one or more of the following two sets of conditions:

(a)       I was employed by Amedisys, Inc.           as a     full-time Registered Nurse, Physical Therapist, Occupational Therapist, or
          Speech Language Therapist, or similar position, in the company's home health division in the Commonwealth             of
         Pennsylvania at some point in time between July 25,2009, and [DATE OF                              PRELIMINARY APPROVALI,
         and was paid on a "per-visit" basis.

         or

(b)      I was employed by Amedisys, lnc.            as a   full-time Registered Nurse, Physical Therapist, Occupational Therapist, or
         Speech Language Therapist, or similar position, in the company's home health division in the Commonwealth                                          of
         Kentucky at some point in time between February 28, 2010, and [DATE OF PRELIMINARY APPROVAL],

                                                                                                                                                  Page   I of2
              Case 3:12-cv-01082-WWE Document 281 Filed 01/26/16 Page 79 of 80



           and was paid on a "per-visit" basis.

Iunderstand that this lawsuit claims that Amedisys did not pay per visit clinicians as required by the federal Fair Labor
Standards Act ("FLSA"),29 U.S.C. $ 201 , et seq., and the laws of the Commonwealths of Pennsylvania and Kentucky,
Penn. Min. Wage Act ("PMWA"), 43 Pa. Stat. Ann. $ 333.100, et seq.; Ky. 'Wage & Hour Act ("KWHA"), Ky.Rev. Stat.
Ann. $ 337.020, et secl., as explained in the notice of a the proposed settlement that I received along with this claim form.

                                                                                         Ifthe Court grants final aPProval
to the parties' proposed settlement, I agree to be bound by any adjudication ofthis action by the Court. I understand that
the Court has appointed Christine E. \ilebber, Esq. of Cohen Milstein Sellers & Toll, PLLC, Gilda A. Hemandez, Esq. of
The Law Offices of Gilda A. Hemandez,PLLC, and Richard E. Hayber, Esq. of Hayber Law Firm, LLC, to represent the
plaintiff class, including me, in this action.

I hereby acknowledge and agree that by participating in this       settlement, I will forever completely settle, comprorrìise,
release, and discharge Amedisys, Inc. from any and all claims and causes of action, whether at common law, pursuant to
statute, ordinance, or regulation, in equity or otherwise, and whether arising under federal, state, or other applicable law,
which I have or might have, known or unknown, asserted or unasserted, of any kind whatsoever, that relate to hours
worked or the payment of wages, except to the extent that any such claim may not be waived as a matter of law, as more
fully explained in the notice of a the proposed settlement that I received along with this claim form.

I   further agree that, since              disputed claims, I will not accept, recover, or receive any back pay, liquidated
                                  I am settling
damages, other damages, or   any  other  form  of relief based on any claim or cause of action released in this settlement in
any other individual, class, or  collective action,  or any administrative or arbitral action against Amedisys, Inc. I also
further acknowledge  and agree  that I am  enjoined  from pursuing any claim released in this settlement.

Should the waiver and release of claims I am acknowledging and agreeing to herein be ruled unenforceable for any
reason,I agree to execute a valid release ofequal scope.

I further represent        and warrant thg!   n_o   claim or cause of action that   I   am releasing as part of this settlement has been
assigned or transferred to any pêrson or entity, in whole or part.

I understand    that must keep the Settlement Administrator informed of my current address and of any change in my
                       I
address. If I do not do so, I understand that I may not receive any settlement payment that I might otherwise be entitled to
receive.

I declare    under penalty of perjury under the laws of the United States that the foregoing statements are true and
correct.




                    Signature                                                           Date



                    Print Name                                      City, State




Fin¡wìde: 134802161.7 057897 I 038




                                                                                                                             Page 2 of 2
Case 3:12-cv-01082-WWE Document 281 Filed 01/26/16 Page 80 of 80


      \¿È:, :. ...=:f
